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IN THE UNITED STATES DISTRICT COURT lo ”
FOR THE WESTERN DISTRICT OF TENNESSEE, WESTERN DIVISION - a

 

H&R BLOCK
EASTERN TAX SERVICES, INC.,

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Plaintiff,

v. Civil ActionNof} 37 2763 Wa P
PHILLIP MURPHY,

MARY E. MURPHY,

PHILLIP MURPHY, JR., and
MURPHY TAX ASSOCIATES, LLC,

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Defendants.

VERIFIED COMPLAINT FOR TEMPORARY RESTRAINING ORDER,
PRELIMINARY INJUNCTION, PERMANENT INJUNCTION, AND OTHER
RELIEF

Plaintiff, H&R Block Eastern Tax Services, Inc. (“H&R Block”), states:

INTRODUCTION

1. H&R Block seeks a Temporary Restraining Order, Preliminary and
Permanent Injunctions, and other relief against Phillip Murphy, Mary E. Murphy, Phillip
Murphy, Jr., and Murphy Tax Associates LLC (“Defendants”) for trademark
infringement; misappropriation of H&R Block’s trade secrets; actual and threatened
violations of the Franchise Agreement, the Electronic Filing Agreement, and the
Financial Products Licensing Agreement; unfair competition, and tortious interference
with H&R Block’s business and business relationships. H&R Block also seeks to enforce
the terms and conditions of the restrictive covenants set forth in the Agreements, and to

enjoin future tortuous conduct by Defendants.
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PARTIES AND JURISDICTION

2. H&R Block, is a Missouri corporation with its principal place of business
in Kansas City, Missouri. H&R Block is engaged in, among other things, the business of
preparing and electronically transmitting state and federal income tax returns for its
clients and customers. H&R Block has offices throughout the country, including
Collierville, Shelby County, Tennessee.

3. Defendant, Phillip Murphy (“Murphy”), is a former owner of an H&R
Block franchise in Collierville. Upon information and belief, he is a resident of the State
of Tennessee, and resides at 1290 Highway 196, Collierville, Tennessee, 38017.

4. Defendant, Mary E. Murphy, is a former licensee of H&R Block and
former office manager, business manager, and authorized representative of the
Collierville H&R Block franchise. Upon information and belief, she is a resident of the
State of Tennessee, and resides at 1290 Highway 196, Collierville, Tennessee, 38017.

5. Defendant, Phillip Murphy, Jr., upon information and belief, is a resident
of the State of Tennessee and maintains a business at 358 New Byhalia Road,
Collierville, Tennessee, 38017.

6. Defendant Murphy Tax Associates, LLC is a Tennessee limited liability
company, whose business address is 358 New Byhalia Road, Collierville, Tennessee,
38017.

7. The Court has original subject matter jurisdiction over H&R Block’s
federal trademark claims under 5 U.S.C. § 1125 pursuant to 28 U.S.C. § 1331. The court

has original subject matter jurisdiction over H&R Block’s related unfair competition
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claims pursuant to 28 U.S.C. § 1338(b). The Court has supplemental jurisdiction over
H&R Block’s remaining state law claims pursuant to 28 U.S.C. § 1367(a).

8. The also has original jurisdiction over the entire controversy pursuant to
28 U.S.C. § 1332.

FACTS AND ALLEGATIONS
Defendants’ Relationship with Block

9. H & R Block has the exclusive right to use the registered trademark
“Executive Tax Service.” A copy of the United States Patent Office registration and
renewal documents for this mark are attached hereto as Exhibit A and incorporated
herein by reference.

10. On November 30, 1984, Phillip Murphy (“Murphy”), entered into a
franchise agreement with H&R Block (“the Franchise Agreement”) to operate an H&R
Block tax preparation service in Collierville. A copy of the Franchise Agreement is
attached hereto as Exhibit B and is incorporated herein by reference. The franchise
territory was defined as the city of Collierville, in the County of Shelby and State of
Tennessee. Under the Franchise Agreement, Murphy was given the exclusive right to
operate an income tax return preparation service using H&R Block’s “Licensed Marks.”
Under the Franchise Agreement, Murphy was to pay H&R Block a royalty income
received from services performed in and by the Collierville H&R Block office.

11. On November 19, 1999, Murphy entered into an Electronic Filing
Agreement with H&R Block allowing Murphy to electronically file tax returns on behalf
of and through H&R Block. A copy of the Electronic Filing Agreement is attached

hereto as Exhibit C and is incorporated herein by reference.
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12. On December 3, 1999, Mary Murphy signed a Financial Products
Licensing Agreement (“FPLA”), which allowed her to sell, market, and deliver financial
products under H&R Block’s licensed marks. Mary Murphy signed the FPLA as a
representative of the Collierville H&R Block franchise owned and operated by Murphy.
A copy of the FPLA is attached hereto as Exhibit D and is incorporated herein by
reference. Exhibits B, C, and D are referred to collectively herein as “the Agreements.”

13. | Mary Murphy was at all times relevant to these events, actively involved
in the ongoing business of the Collierville H&R Block franchise. Murphy designated
Mary Murphy as the office manager on his initial franchise application and she served in
that capacity. Mary Murphy also acted as an authorized representative of the Collierville
H&R Block franchise, as evidenced by the FPLA. Murphy also functioned as the
business manager of the Collierville H&R Block franchise, as evidenced by royalty
checks signed by Mary Murphy on behalf of the Collierville H&R Block franchise dated
as late as February 2003. Mary Murphy also prepared tax returns for the Collierville
H&R Block franchise.

14. Murphy failed to have Mary Murphy execute an Employment Contract
and non-competition agreement as required by the Franchise Agreement.

15. Phillip Murphy, Jr., is the son of Phillip Murphy and Mary Murphy.
Agreement Provisions

16. Section 10 of the Franchise Agreement enumerated the required conduct
of Murphy’s business. Specifically, it states that Murphy may not conduct any business

or activities from the H&R Block office or allow any other person to conduct any
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activities from the H&R office other than those permitted or required under the Franchise
Agreement.

17. The Franchise Agreement states that H&R Block office space may be
subleased in only two circumstances: 1) to third parties, during the off-season, for the
purpose of conducting activities of the type that there will be no implication that such
activities are being performed under the licensed marks; or 2) the office space is
separately identified from the office required to be maintained.

18. | Under the terms of the Franchise Agreement, Murphy also specifically
agreed: (a) during the term of the Franchise he would not compete, directly or indirectly
whether as an owner, stockholder, partner, officer, director, or employee, with H&R
Block or any H&R Block franchisees in the business of preparing tax returns or
performing related services in or within 45 miles of the Franchise territory; in the
franchise territory granted to any other franchisee; or within 45 miles of any office
operated by Block; (b) for a period of one year after the termination of the Franchise
Agreement or the transfer or other disposition of the franchise, he will not directly or
indirectly whether as an owner, stockholder, partner, officer, director, or employee,
solicit by mail, phone or in person, or divert from H&R Block or any H&R Block
franchisees any person for whom he prepared a tax return or related service at any time
during the Franchise Agreement’s term for the purpose of rendering services in
connection with the preparation of tax returns or performance of any related services; and
(c) for a period of one year after termination of the Franchise Agreement or the transfer
or other disposition of the franchise, he will not compete directly or indirectly whether as

an owner, stockholder, partner, officer, director, or employee, with H&R Block or H&R
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Block franchisees in the business of preparing tax returns or performing related services
in or within 45 miles of the franchise territory.

19. The Franchise Agreement also required Murphy to maintain for a period
of at least three full years, complete and accurate books and records pertaining to tax
return preparation and, for the purpose of determining compliance with the terms of the
agreement copies of all customer receipts, customer tax returns, bank statements, full
complete and accurate books and records of accounts, and Franchisee’s tax returns. All
of these books and records were required to be open to inspection by H&R Block during
regular business hours.

20. | Upon termination of the Franchise Agreement, paragraph 14 requires
Murphy to “immediately refrain from using, by advertising or otherwise, directly of
indirectly any of the Licenses marks,” and “refrain from using any words or combinations
of words similar or suggestive in any way of the licensed marks, and any trade names,
trademarks, [etc.] of the Block.”

21. | Upon termination of the Franchise Agreement, Murphy was also required
by paragraph 14 to “assign whatever, right, title or interest [Murphy] may have in and to
[the] business, telephone numbers and telephone business directory listings.”

22. Upon termination of the Franchise Agreement, paragraph 14 of the
Franchise Agreement requires Murphy to “immediately return to Block ... copies of all
customer tax returns, ... customer lists, customer names, forms, files and computer
storage materials.

23. Murphy further covenanted that he would never (a) divulge to or use for

the benefit of any person, association or corporation outside of the H&R Block
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organization, any information or knowledge concerning customers, the methods,
promotion, advertising or any other systems or methods of operation of H&R Block’s
business or that of H&R Block’s franchisees which Murphy may have acquired by virtue
of the Franchise Agreement; (b) or do any deliberate act prejudicial or injurious to the
goodwill or name of H&R Block.

24. The FPLA, signed by Mary Murphy on December 3, 1999, provides that
upon its termination the Licensee, Mary Murphy, shall surrender all customer files to
H&R Block. The FPLA also provides that the licensee will not compete directly or
indirectly whether as an owner, stockholder, partner, officer, director, or employee, with
H&R Block in the business of selling Financial Products in or within 45 miles of the
Franchise Territory (Collierville), in the territory granted to any other H&R Block
licensee, or within 45 miles of any Financial Products office operated by H&R Block for
a period of two (2) years after termination of the agreement. Additionally, the FPLA
provides that for a period of two (2) years after the termination of the agreement, the
licensee will not directly or indirectly whether as an owner, stockholder, partner, officer,
director, or employee, solicit by mail, phone or in person, or divert from H&R Block or
H&R Block franchisees any person to whom Financial Products were offered at anytime
during the term of the agreement or compete with H&R Block in the business of selling
Financial Products in or within 45 miles of the Franchise Territory.

Trademark Infringement, Breach of Agreements, Unfair Competition, and
Interference with H&R Block’s Business

25. During the term of the Franchise Agreement Murphy and, Mary Murphy
received considerable and specialized training from H&R Block regarding H&R Block’s

policies, procedures, and tax and related business operations. Defendants also had access
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to confidential business information and trade secret information of H&R Block,
including customer tax information, client lists, client names, addresses, telephone
numbers, and proprietary tax return and financial information.

26. | Throughout the nineteen (19) years that Murphy held the H&R Block
Collierville franchise, Murphy and Mary Murphy developed and maintained considerable
and ongoing business contacts with H&R Block clients for whom tax returns were
prepared and/or electronically transmitted or for whom other services were provided.
These client contacts resulted in continued and ongoing business and good will for H&R
Block.

27. These clients repeatedly returned to H&R Block to have their taxes
prepared or electronically transmitted during the tax season and to consult with H&R
Block for general tax advice and services throughout the year. Furthermore, H&R Block
has invested considerable time, money, and other valuable resources in formulating,
compiling, and protecting its confidential business and trade secret information. As a
result, H&R Block has a protectable interest in its confidential information, trade secrets,
goodwill, client contacts, files and records, and other professional customer relationships.

28. Problems began to arise with Murphy’s Collierville H&R Block franchise
in or about September 2000. Murphy discontinued using the required software provider
for the H&R Block Electronic Filing System (“EFS”). As a result of this breach, H&R
Block terminated the FPLA on December 18, 2000. Mary Murphy was thus prohibited
from, among other things, competing with H&R Block in the selling of any Financial
Products, as provided for under the FPLA, until December 18, 2002. The Franchise

Agreement, however, remained in place at this time.
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29. In May 2002, H&R Block discovered that several tax returns prepared and
filed from the Collierville H&R Block location were not properly accounted for. On May
23, 2002, H&R Block sent Murphy a letter detailing numerous breaches of the Franchise
Agreement. These breaches included Murphy’s failure to enter returns into H&R Block’s
Tax Tracking System (“TT”), and allowing unauthorized individuals, including but not
limited to Phillip Murphy Jr., to operate and prepare tax returns using H&R Block’s
system and name without accounting for the returns or profits to H&R Block. This was
work that otherwise would have and should have been performed on behalf of H&R
Block.

30. Defendants were, in fact, diverting business away from H&R Block to
themselves (individually), their family and friends. Defendants, however, were using
H&R Block’s system and filing licenses to conduct this competitive activity.

31. After repeated demands, Murphy failed to provide any information to
H&R Block concerning the returns prepared in competition with H&R Block. In October
2002, H&R Block again requested information on the individuals who used and received
H&R Block services, but were not entered into TT. Murphy assured H&R Block that all
returns would be entered and that no further competitive activity would take place at the
Collierville H&R Block location or using H&R Block’s systems.

32. In early 2003, H&R Block discovered that Murphy was still operating in
direct competition with H&R Block. In the same offices, under the H&R Block signage
and licensed marks, Mary Murphy, Phillip Murphy, and Phillip Murphy, Jr. and Murphy
Tax Associates, LLC were operating in direct competition with H&R Block using the

names “Executive Tax Services” and “Murphy Tax Services.” Executive Tax Service is
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a licensed mark of H&R Block. A copy of ads and a prepared tax returned using and
infringing upon H&R Block’s licensed trademark are attached as Exhbit E. H&R Block
has never authorized Defendants, individually or in concert, to use its licensed and
registered trademark for these purposes.

33. The offices of the Collierville H&R Block office and Murphy Executive
Tax Services were so intertwined that persons had to actually enter the H&R Block
office to gain access to the Murphy Executive Tax Service “office” upstairs. The
addresses for the Collierville H&R Block office and Murphy Tax Service are listed as the
same address in the telephone directory -- 358 New Byhalia Road. There was no signage
indicating that a business other than H&R Block was located on the premises.

34. On March 6, 2003, Murphy directed a potential tax preparation customer
who contacted him by telephone to Mary Murphy, Murphy Tax Service, and Executive
Tax Service.

35. On or about March 12, 2003, a call placed to the telephone number listed
in the Murphy Tax Service ad was answered “H&R Block.”

36. On or about March 14, 2003, Murphy directed a potential tax preparation
customer, who came to the H&R Block office, upstairs to Philip Murphy, Jr. and Murphy
Tax Service, who prepared the return for the client. H&R Block did not receive any of the
money paid to Phillip Murphy, Jr. or any royalties on this work.

37. As a result of the above and other breaches, H&R Block terminated the

Franchise Agreement in April 2003.

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38. | Murphy has refused to disconnect or assign the H&R Block telephone
number to H&R Block. Moreover, the H& R Block telephone number in Collierville is
being answered as Murphy Tax Services as recent as October 10, 2003.

39. The Internal Revenue Service’s e-file provider listings has identical
contact information, addresses, and telephone numbers for H&R Block, Mary Ellen
Murphy, and Murphy Tax Associates LLC. A copy is attached as Exhibit F.

40. Defendants have wrongful retained and/or misappropriated all of H&R
Block’s previously client returns, records, and files from the H&R Block Collierville
office. Based upon previously reported activity, H&R Block estimates this to be over
2,200 files.

41.  Defendant’s retention of these files in contravention of contractual
obligations amounts to misappropriation of H&R Block’s trade secrets, unfair
competition, and intentional interference with H&R Block’s business. The information
contained in these files is vital to H&R Block’s ability to continue to service its client
base in the Collierville area. Copies of client’s tax returns, loan information, financial
information, and information necessary for the preparation of 2003 and future tax year
tax returns are contained in the files wrongfully retained or misappropriated by
Defendants.

42. Upon information and belief, Defendants have acted together to breach the
terms of the Agreements. Defendants have endeavored to trade upon the value, goodwill,
and national advertising efforts of H&R Block, a valuable property right of H&R Block,

in violation of the terms of the Agreements.

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43. Upon information and belief, Defendants have been preparing and
servicing clients in competition with H&R Block in violation of their Agreements and
obligations since 2000 or earlier.

44. Upon information and belief, Defendants solicited, directly or indirectly,
clients and customers away from H&R Block for their own personal economic benefit
and to the detriment of H&R Block.

45. Upon information and belief, Defendants have removed, misappropriated,
or used H&R Block’s confidential business information, including but not limited to
customer and client lists, customer names, addresses and related contact and tax
information, for their own economic benefit in direct violation of their Agreements.

46. Upon information and belief, Defendants have continued to violate the
Agreements by preparing or electronically transmitting tax returns, or soliciting,
diverting, or taking away clients from H&R Block after the termination of the
Agreements.

47. Upon information and belief, Defendants current and past use of H&R
Block’s registered trademark, Executive Tax Services, is likely to cause confusion, or
to cause mistake, or to deceive as to the affiliation, connection, or as to the origin,
sponsorship, or approval of Defendants’ commercial activities.

48. Defendants have refused to agree that they will not continue to wrongfully
prepare, or electronically transmit tax returns, or solicit, divert, or take away H&R
Block’s clients in violation of the Agreements. Defendants will continue to do so unless
and until they are immediately enjoined from doing so. Defendants’ continued wrongful

activities have resulted in and will continue to cause a substantial loss of business,

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goodwill, client contacts, relationships, and confidential or trade secret information for
H&R Block, now and in the foreseeable future.

49, As aresult of Defendants failure to return H&R Block’s client files, H&R
Block is unable to service those clients who contact H&R Block for services, copies of
returns, or making payment. H&R Block is unable to determine which H&R Block
clients have outstanding loan balances against refunds, have returns prepared but unfilled
while awaiting payment, or have supplemental, amended, or extended returns due.

50. By retaining and refusing to return H&R Block’s clients files and records,
Defendants have an unfair competitive advantage and those clients must contact
Defendants rather than H&R Block for their information. The retention of this and other
information has prompted many customers to leave H&R Block and use the services of
Defendants. Additionally, H&R Block has had to order duplicate tax returns for several
customers directly from the Internal Revenue Service at a cost, creating significant
inconvenience for its customers.

51. | H&R Block will suffer severe and irreparable injury unless Defendants are
restrained from performing the acts condemned and prohibited under the Agreements and
trademark infringement laws.

52. | H&R Block does not have an adequate remedy at law.

COUNT I
REQUEST FOR TEMPORARY RESTRAINING ORDER, AND PRELIMINARY
AND PERMANENT INJUNCTIVE RELIEF

53. | H&R Block incorporates by reference each of the allegations set forth in

paragraphs | through 52 as though fully set forth herein.

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54, Upon information and belief, Murphy has solicited, diverted, or taken
away, and intends to continue soliciting, diverting, or taking away H&R Block clients,
and providing tax- and financial-related services to H&R Block’s clients in violation of
his ongoing contractual obligations to H&R Block.

55. Murphy is in possession of, has utilized, and is in a position to continue to
utilize H&R Block’s confidential business information and trade secret information,
including employee and customer tax information, client lists, client names, addresses,
telephone numbers, and proprietary tax return and financial information, to his personal
financial benefit and to the disadvantage of H&R Block.

56. Murphy understood and acknowledged that if he breached the Franchise
Agreement H&R Block would be entitled to injunctive relief and damages as set out in
the Agreement.

57. Unless Murphy is restrained from soliciting, diverting, or taking away
H&R Block clients in violation of the Agreements, H&R Block will suffer immediate,
permanent, and irreparable damage in that Murphy will misappropriate H&R Block’s
client relationships, client contacts, goodwill, and confidential and trade secret
information, for his own improper use and benefit, and in direct violation of his
obligations under the Agreement.

58. There is no adequate remedy at law for such breaches, and injunctive
relief is appropriate because complete monetary damages would be difficult to calculate
if Murphy is permitted to continue to solicit, divert or take away H&R Block’s clients.

59. The confidentiality, extent of services, nonsolicitation, and

noncompetition provisions in the Franchise Agreement are reasonable and valid in that

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they afford reasonable protection to H&R Block’s confidential and trade secret
information, client contacts, client relationships, and goodwill and do not unreasonably
restrain Murphy’s ability to perform his trade.

60. | Murphy, Mary Murphy and Phillip Murphy Jr., have utilized and continue
to utilize a registered trademark of H&R Block, “Executive Tax Services.” Their
commercial use of this registered trademark has caused and upon information and belief
continues to cause a dilution of the distinctive quality of the mark.

61. Unless the Defendants are restrained from utilizing H&R Block’s
registered trademark in their commercial endeavors, H&R Block will suffer immediate,
permanent, and irreparable damage in that the continued use will further dilute the
distinctive quality of the mark, and create a very strong risk of confusion among H&R
Block’s current and potential customer base.

62. There is no adequate remedy at law for such trademark infringement, and
injunctive relief is appropriate because complete monetary damages would be difficult to
calculate if Defendants are permitted to continue to use H&R Block’s registered
trademark.

63. | The Defendants are currently using the phone number under which H&R
Block is listed in the telephone directory and yellow pages. The use of this number
increases the likelihood of confusion and enhances the Defendants’ ability to divert

business away from H&R Block.

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COUNT II
TRADEMARK INFRINGEMENT

64. | H&R Block incorporates by reference each of the allegations set forth in
paragraphs 1 through 63 as though fully set forth herein.

65. H&R Block has marketed, advertised, and promoted H&R Block’s tax
services under its trademarks, service mark, and logos, and as a result of this marketing,
advertising, and promotion, H&R Block and the H&R Block trademarks and service
mark set forth above have come to mean and are understood to signify the tax, services,
and marks of H&R Block, and are the means by which these services and marks are
distinguished from those of others in the same and in related fields.

66. Because of the long, continuous, and exclusive use of the trademarks
described in this Complaint, H&R Block's registered marks have acquired a secondary
meaning associated by customers, and the public with H&R Block.

67. Defendants’ activities constitute wrongful and unauthorized use in
Tennessee and in interstate commerce of H&R Block’s registered trademark. Such
activities are likely to cause confusion, mistake, or deception as to the source, origin, or
approval of the infringing tax services and/or products being offered and distributed by
Defendants which bear any counterfeit or infringing versions of the registered trademarks
described in this Complaint.

68. Further, the activities of Defendants are intended to, and are likely to, lead
the public to conclude incorrectly that the tax services being offered or marketed by
Defendants which bear any infringing versions of the registered trademarks described in

this Complaint, which are or have been offered, advertised, and marketed by Defendants

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originate with, are sponsored by, or are authorized by H&R Block, to the damage and
harm of H&R Block, its licensees, and the public. Defendants' activities constitute
willful and deliberate infringement of H&R Block’s federally registered trademark in
violation of the Lanham Trademark Act including, but not limited to, 15 U.S.C.
§ 1114(1).

69.  Asaresult of the foregoing, H&R Block has been damaged in an amount
that will be ascertained according to proof. In addition to H&R Block’s actual damages,
H&R Block is entitled to receive Defendants' profits pursuant to 15 U.S.C. § 1117(a).
These actual damages and profits should be trebled pursuant to 15 U.S.C. § 1117(b)
because Defendants' violation of H&R Block’s trademark was willful. In the alternative,
H&R Block is entitled to statutory damages pursuant to 15 U.S.C. § 1117(c), and these
statutory damages should be enhanced in accordance with 15 U.S.C. § 1117(c)@)
because Defendants’ violation of H&R Block’s trademarks was willful.

70. The activities of Defendants have caused and will cause irreparable harm
to H&R Block for which H&R Block has no adequate remedy at law in that (i) if
Defendants' wrongful conduct continues, consumers are likely to become further
confused as to the source of the tax services and/or products bearing any of the registered
trademarks described in this Complaint; (ii) H&R Block’s trademark is unique and
valuable property which has no readily determinable market value; (iii) the infringement
by Defendants constitutes an interference with H&R Block’s goodwill and customer
relationships; and (iv) Defendants' wrongful conduct, and the damages resulting to H&R
Block, are continuing. Accordingly, H&R Block is entitled to injunctive relief, pursuant

to 15 U.S.C. § 1116(a), and to an order under 15 U.S.C. § 1116, subsections (a) and

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(d)(1)(A), and 28 U.S.C. § 1651 impounding all marketing materials, products and service
materials being offered or distributed by Defendants which bear any infringing versions
of the registered trademarks described in this Complaint.

71. H&R Block is informed and believes, and on that basis alleges, that
Defendants have committed the acts alleged above with previous knowledge of H&R
Block’s prior use and superior rights to the registered trademarks, trade names and
service mark, and with previous knowledge of the reputation of H&R Block’ registered
trademark in interstate commerce. Further, H&R Block is informed and believes that
Defendants' actions were undertaken for the willful and calculated purpose of trading
upon H&R Block’s goodwill and for the willful and calculated purpose of marketing
products and services based upon the goodwill of H&R Block’s trademarks and trade
names, and business reputation, so as to mislead and deceive customers and the public.
Defendants’ actions are likely to cause confusion and mistake among customers and the
public as to the origin or association of the services and products being offered, all to
Defendants' gain and H&R Block’s damage.

72. | H&R Block is also entitled to recover its attorneys' fees and costs of suit

pursuant to 15 U.S.C. § 1117.

COUNT II
BREACH OF CONTRACT

73. The facts alleged herein constitute breach of the Agreements by Murphy.

74. The facts alleged herein constitute breach of the FPLA by Murphy and
Mary Murphy.

75. The facts alleged herein constitute a conspiracy by Defendants to breach

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the Agreements and harm H&R Block.
76.  Asaresult of Defendants’ actions, individually and in concert, H&R
Block has been damaged.

COUNT IV
UNFAIR COMPETITION

77. The facts alleged herein constitute unfair competition.

78. The action of Defendants in retaining and misappropriating H&R Block’s
client records, trademarks, and telephone number give them an unlawful and unfair
competitive advantage in the marketplace.

79. As a result of the Defendant’s actions, individually and in concert, H&R
Block has been damaged.

COUNT V
BREACH OF DUTY OF LOYALTY

80. The facts alleged herein constitute a breach of Mary Murphy’s duty of
loyalty as an employer, agent and representative of the Collierville H&R Block franchise.

81. H&R Block is a third-party beneficiary to Mary Murphy’s duties to the
franchise.

82. Under the Agreements, Murphy paid royalties to H&R Block based on the
review generated.

83. Mary Murphy’s actions alleged herein damaged the profit and reserve of
the franchise and, thereby, damaged H&R Block.

COUNT VII
INTENTIONAL INTERFERENCE WITH BUSINESS

84. The acts of Defendants alleged herein were done with the intent to injure

H&R Block’s business and business relationships.

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85. The acts of Defendants alleged herein have wrongfully and unlawfully
interfered with H&R Block’s business and business relationships.

86. Asaresult of the Defendants’ actions, individually and in concert, H&R
Block has been damaged.

COUNT VII
MISAPPROPRIATION OF H&R BLOCK’S TRADE SECRETS

87. | H&R Block maintains proprietary and confidential business information,
including, but not limited to: client and business lists, training materials, software
programs, computer disks, client and service files, documents, appointment books, and
other items containing proprietary information such as names, addresses, telephone
numbers, tax returns or tax return information regarding current and former clients of
H&R Block. This information constitutes protectable trade secrets according to
Tennessee’s Trade Secrets Act, T.C.A. §§ 47-25-1701 through 1709.

88. Defendants have misappropriated, and threaten to continue to
misappropriate, confidential information and/or trade secrets, including but not limited to:
H&R Block client information, client files, and other confidential business information
that contains employee information and client names, addresses, telephone numbers, and
tax return information, all of which were provided or made available to Murphy as a
direct result of his Franchise Agreement.

89. H&R Block has made reasonable efforts to maintain the secrecy and
protect the confidentiality of this confidential business information and/or trade secrets

and derives economic value from the continued secrecy and confidentiality of this

information.

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90. | Murphy has divulged this confidential and/or trade secret information to
Murphy Tax Associates LLC, Mary Murphy and Phillip Murphy Jr. for their collective
benefit to the detriment of H&R Block.

91. | Defendants’ misappropriation, unauthorized disclosure, and misuse of
H&R Block’s confidential information and/or trade secrets is malicious, willful, wanton,
and done with full knowledge and intent to injure H&R Block in its trade or business.

92. As a direct and proximate result of Defendants’ misappropriation and
misuse of H&R Block’s trade secrets, H&R Block has been damaged.

COUNT VIII
VIOLATION OF TENNESSEE UNFAIR TRADE PRACTICES ACT

93. The acts, practices and conduct of Defendants as alleged above in this
Complaint are likely to cause confusion or misunderstanding as to the source,
sponsorship, approval or certification of the items Defendants distribute and constitute
unfair methods of competition and deceptive acts and practices in violation of the
Tennessee Unfair or Deceptive Acts or Practices Act, TENN CODE ANN. § 47-18-104.

94. _Defendants' acts, practices and conduct as alleged above have and are
likely to continue to damage H&R Block and its goodwill and reputation.

95. Defendants have willfully engaged in deceptive trade practices.

COUNT IX
IMPLEMENTATION OF A CONSTRUCTIVE TRUST

96. By virtue of their wrongful acts alleged herein, Defendants hold profits as
constructive trustees for the benefit of H&R Block.

97. |H&R Block is not presently aware of where the Defendants may have

deposited all of their illegal profits from Defendants’ wrongful acts against H&R Block

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and the public. H&R Block believes that Defendants’ illegal profits, whether in the form
of bank accounts or in the form of real or personal property, will eventually be traced.
H&R Block therefore believes that Defendants hold such illegal profits as constructive
trustees for the benefit of H&R Block.
COUNT X
REQUEST FOR AN ACCOUNTING

98. H&R Block is entitled pursuant to 17U.S.C. §504 and 15 U.S.C.
§1117to recover any profits of Defendants that are attributable to their acts of
infringement.

99. H&R Block is entitled pursuant to 17U.S.C. § 504 and 15U.S.C.
§ 1117 to actual damages or statutory damages sustained by virtue of Defendants' acts of
infringement.

100. The amount of money due from Defendants to H&R Block is unknown to
H&R Block and cannot be ascertained without an accounting of the advertising,
marketing, solicitation of services, and actual client serviced, by Defendants.

101. H&R Block is entitled under federal and state law to an accounting of all
profits and the services of Defendants’ revenue from January 1, 2000 to the date of the
accounting.

PRAYER FOR RELIEF

WHEREFORE, in light of the actual conduct, and real apprehension of

continued conduct of Defendants as alleged herein, H&R Block prays that this Court

grant the following relief:

a. Issue a Temporary Restraining Order, a Preliminary Injunction, and a Permanent
Injunction enjoining Murphy, Mary Murphy, Phillip Murphy Jr., and Murphy Tax

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Service, LLC from utilizing the registered trademark of H&R Block, “Executive Tax
Service” or similar marks.

b. Issue a Temporary Restraining Order, a Preliminary Injunction, and a Permanent
Injunction requiring Defendants to maintain all records and files of H&R Block in their
current state and prohibiting the destruction of any of those files, returns, materials, and
records in the possession of Defendants.

c. Issue a Temporary Restraining Order, a Preliminary Injunction, and a Permanent
Injunction requiring Defendants disconnect and to cease and desist from the use of the
former Collierville H&R Block telephone number (901) 853-9076.

d. Issue a Preliminary and Permanent Injunction enjoining Defendants and all
persons acting through, or on behalf them for a period of one (1) year from directly or
indirectly preparing or electronically transmitting tax returns, or providing any products
or services that H&R Block offers within 45 miles of its Collierville, Tennessee, office.

e. Issue a Preliminary and Permanent Injunction enjoining Defendants and all
persons acting through, or on behalf of them, for a period of one (1) year from directly or
indirectly soliciting, diverting, or taking away any past or present clients of H&R Block’s
Collierville, Tennessee office.

f. Issue a Preliminary and Permanent Injunction enjoining Defendants and all
persons acting through, or on behalf of them from directly or indirectly using, divulging,
disclosing, or otherwise misappropriating any of H&R Block’s confidential business
information, client information and/or trade secrets.

g. Issue an Order compelling Defendants to disclose to H&R Block the identities of
every past or present person or entity whose return them, and all persons acting through,
or on behalf of them, prepared or electronically filed during or after the Franchise
Agreement was in effect that has not been accounted to H&R Block.

h. Issue an Order compelling Defendants to return to H&R Block all of the client
and other business lists, computer disks, files, appointment books, documents or other
items containing names, addresses, telephone numbers, tax information, returns, loan
documents, financial information, or information relating in any way to H&R Block’s
current, former, or prospective clients.

i. Issue an Order compelling Defendants to provide an accounting of all profits from
their commercial endeavors and the services of all revenues since January 1, 2000, and
award H&R Block damages in excess of $75,000.

j. Award H&R Block actual or statutory damages under the Lanham Act.

k. Award H&R Block its expenses and reasonable attorney fees and such other and
further relief to which it is entitled.

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VERIFICATION

I, John Greenway, am employed by H&R Block in the position

of Le A Pr J ‘Gf . [have read the foregoing factual allegations of this Complaint

and they are true based upon my own personal knowledge and information gathered and

provided to me by persons acting at and under by direction and control.

YZ

 

re Greenway~
County of ri nnet yt

State of @ Ft ;

Sworn to and Subscribed before me this [3 _ day of October 2003.

Notary Public

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Respectfully Submitted,

Loell X here’
Steven W. Likens (13311)
Husch & Eppenberger, LLC
200 Jefferson, Suite 1450

Memphis, TN 38103
(901) 523-1123

 

Attorneys for H&R Block

THIS IS THE FIRST APPLICATION FOR EXTRAORDINARY RELEIF

SOUGHT IN THIS MATTER.

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FIAT
To the Clerk:
Enter the Following Temporary Restraining Order and set a hearing on Plaintiff's
application for a Preliminary Injunction on or before October 30, 2003.
Temporary Restraining Order
Phillip Murphy, Mary E. Murphy, Phillip Murphy, Jr., and Murphy Tax
Associates, LLC, their officers, agents, servants, employees, attorneys, and all those
persons acting in concert with them are hereby restrained, until further order of the Court:
a. from using in any manner “Executive Tax Service” or “Executive
Tax Services” for any commercial purpose or in any advertisement, signage, promotional,
or other material;
b. from destroying, transferring or removing from Shelby County,
Tennessee, any file, tax return, loan document, material, client list, or other document, in
tangible or electronically stored format, of persons or entities on whose behalf,
individually or in concert, they prepaid returns, filed returns, or performed services as a
franchisee, employee, or representative of H&R Block or any H&R Block franchise; and
c. from using telephone number (901) 853-9076, and they are further
ordered to have that telephone number disconnected or assigned to H&R Block.
The Court finds that Plaintiff will suffer irreparable harm and there will be no

adequate remedy at should this restraining order not issue.

 

JUDGE

Date:

 

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CERTIFICATE OF RENEWAL
Reg. No._836,459_

Application to renew the above identified registration having been duly filed in the Patent
and Trademark Office and there having been compliance with the requirements of the law and
with the regulations prescribed by the Commissioner of Patents and Trademarks,

 

This is to certify that said registration has been renewed in accordance with the Trademark

Act of 1946 to H & R Block, Inc., of Kansas City, Missouri,
A Missouri Corporation

and said registration will remain in force for twenty years from October 3 , 1987
unless sooner terminated as provided by law.

In Testimony Whereof I have hereunto set
my hand and caused the seal of the Patent
and Trademark Office to be affixed this /
fifth day of April, 1988.

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Commissioner of Patents and Trademarks
EXHIBIT

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PTO -184 (Rev. 5-83) _

 
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United States Patent Office. “ontnets

Registered Oct. 3, 1967

PRINCIPAL REGISTER
Service Mark

 

Ser. No. 251,817, filed Ang. 5, 1966

 

H & R Block, Inc, (Missouri corporation) For: PREPARATION OF INCO RETURNS
! - : INCOME TAX
4410 Main St : | _ FOR OTHERS, in CLASS 101. TAX
, irst use on or about Jan. 15, 1966; in commerce
about Jan. 15, 1966, vem on or

 

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SATELLITE FRANCHISE AGREEMENT

THIS AGREEMENT is made and entered into this SO day ot Loy off, between H&R BLOCK
7.
Sy)

( LINC, aff ff 5 ere © corporation (“Block”), and
¢

Phill: A. Murphy

 

 

kame)
Lo Caloektey JS Z_, Ollrer ville _ le, 39077
(Address)

(“Franchisee”).
in consideration of the covenants and agreements set forth below, Block and Franchisee agree as follows:

1. Definitions.

As used in this Agreement, the following terms shall have the meanings specified:

“Additional Services" means those services, other than Related Services, that Block has authorized Franchisee to per-
form under the Licensed Marks by the attachment of an addendum to this Agreement describing such Additional Services and
the applicable terms and conditions, including payment of royalties:

“Arbitration Notice” means the written notice sent by either party to the other requesting arbitration ofa dispute or Breach.

“Breach” means the happening of one or more of the grounds for termination of this Agreement set forth in paragraph 13.

“Controlled Entity” means a corporation or partnership in which Franchisee is the beneficial owner of a majority (over
50%) of each class of voting securities (if a corporation) or is the controlling general partner (if a partnership).

“Franchise Territory” means the City of CY L(eryvy f y} e. , inthe County of Shelby
and State of ne . » lw

“Gross Receipts” means all amounts received by Franchisee from the preparation of tax returns and performance of
Related Services including, but not limited to, computer services in connection with the preparation of tax returns and perform-
ance of Related Services, and all amounts received from the performance of Additional Services if the addendum regarding any
Additional Service does not specifically provide for the payment of royalties.

/ i. “Incapacitated” or “Incapacity” means the inability of Franchisee or a Principal, according to competent medical authority
to perform the duties and obligations under this Agreement for a period of one year or more as the result of iiiness or accident.

_ “Licensed Marks” means the name and service mark “H&R BLOCK” and, with respect to operating an income tax return
preparation service and performing Related Services, the service marks. "THE INCOME: TAX PEOPLE", “AMERICA’S LARGEST
TAX SERVICE”, “EXECUTIVE TAX SERVICE”, “NATION’S LARGEST TAX SERVICE"; and any other name or service mark that
may be adopted by Block or registered by Block under appropriate service mark or trademark registration laws for use in such
business and performing such services. ,

“Manual” means the H&R Bloék Policy and Procedure Manual, as amended by Block in its sole discretion from time to time.

“Oft Season” means that portion of a calendar year other than the Tax Season.

 

“Principal” means an individual who is an executor or executrix, trustee, director or partner of a proposed transferee or a
director or partner of a Controlled Entity and who personally assumes and agrees to be bound by all of the terms of this Agree-
ment, in a document satisfactory to Block, to the end that Block may look to such individual, in addition to the proposed trans-
feree or the Controlled Entity, for the proper performance of this Agreement.

“Related Services” means those products or services that Block has from time to time in writing authorized Franchisee to
perform that deal with the preparation of income tax returns, such as, by way of illustration and not limitation, income tax return
preparation schools and other similar products or services directly related to the business of preparing income tax returns. -

% “Renewal Terms” means those successive five-year terms after the initial term of this Agreement.

EXHIBIT

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Population shail be determined Pest the date of this Agreement from the most recent Standard Rate and Data Service or compa-
rable figures. Such deposit shall be held by Block without interest, may be commingied with Block's other funds, may be applied
by Biock to the payment of all unpaid amounts owed to it by Franchisee and to the payment of all costs and expenses, including
attorneys fees, incurred by Block in enforcing this Agreement, and shall be forfeited by Franchisee if Block terminates this
Agreement pursuant to paragraph 13.

The parties expressly acknowledge that the forfeiture or application by Block of the deposit, or any portion thereof, shall
not affect any other rights or remedies Biock may have at law or in equity and that the forfeiture or application of such deposit shall
not constitute liquidated damages or otherwise limit the damages or other legal or equitable remedies available to Block hereun-
der. To the extent not otherwise applied in accordance with this paragraph, the deposit shall be refunded to Franchisee two years
after the termination, transfer or other disposition of this Agreement, provided (i) that the deposit shall be refunded within 90
days after the effective date of a transfer upon the death of Franchisee; and (ii) that upon a transfer to a Controlled Entity, the
deposit shall be held by Block in accordance with this paragraph in satisfaction of the obligations of such Controlled Entity under
this paragraph and Franchisee shall have no further interest in the deposit.

6. Royalties; Reports.

Franchisee shall pay Block royalties on Franchisee’s Gross Receipts in each calendar year in the foliowing amounts and at
the times specified:

On That Portion of The Early Payment The Standard
Gross Receipts That !s Royalty Rate Is Royalty Rate is
$5,000 or less 50% , 60%
Over $5,000 30% 40%

The standard royalty rate applies if neither the early payment royalty rate nor the 20% royalty rate described below is
applicable. The early payment royalty rate applies if the royalty is paid to Block not later than five days after the end of the
Reporting Period to which the royalty relates and no amounts payable to Block under this Agreement or otherwise are overdue.
The royalty rate on the excess Gross Receipts for a calendar year over the average of the Gross Receipts for the two previous
calendar years is 20% if paid to Block not later than five days after the end of the Reporting Period to which the royalty relates
and is not subject to further reduction for early payment. ”

Royalties are due 30 days after the end of the Reporting Period to which they relate. Franchisee may defer until! March 15
of each year the payment of 33 1/3%, if the standard royalty rate applies, or 40%, if the early payment royalty rate applies, of
each royalty payment due on that portion of Gross Receipts that is $5,000 orless (up to an annual maximum deferred amount of
$1,000). The entire deferred amount will be payable, without further discount for early payment, no later than March 15.

Within five days after the end of each Reporting Period, Franchisee shall submit to Block a copy of every customer receipt
(in the form furnished by Block) and such other reports as may be required from time to time in the Manual.

7. Instruction and Other Assistance.

Atits expense, Block will (a) advise and instruct Franchisee in the operational aspects of Franchisee's business; (b) advise
‘tn the selection and location of an office or offices; (c) furnish information necessary to establish an operating budget; (d) design
forms which shall be used by Franchisee in Franchisee's business related to the preparation of tax returns and advise as to
quantities needed; (e) initially train Franchisee in the preparation of tax returns (provided that such training shall take place at
such times and at such places as Block shalt designate) and thereafter make training material available to Franchisee: and (f}
furnish all specialized forms (such as income tax forms and Block internal reporting forms) and designated equipment (which,
subject to Block's then current practice, may include duplicating equipment and signs but not computer equipment, which is
covered by paragraph 8) as specified in the Manual and deemed necessary from time to time by Block for Franchisee to effi-
ciently operate hereunder, for Franchisee's use in his tax return preparation business. Any such designated equipment or spe-
cialized forms will be furnished without charge to Franchisee except that Franchisee will be responsible for freight charges (as
determined by Block) on all items other than. duplicating equipment and signs. All equipment shail be installed and (except for
duplicating equipment} maintained in good working order by Franchisee. Block shall further supply, without charge, all such
other items set forth as items available without charge (except for freight) to Franchisee in the Manual. Atits expense, Biock will
furnish all promotion and advertising deemed advisable by it in its sole discretion, provided that Franchisee will bear the cost of
any discount granted pursuant to any discount program promoted by Block in which Franchisee participates and that Block, in its
Sole discretion, may determine to pay Franchisee an amount determined by Block for certificates redeemed by Franchisee in
connection with those programs specified by Block. Block has no obligation to provide any services, supplies or other items not
specifically set forth in this Agreement.

8. Computer Equipment and Software.

Block may make available to Franchisee at no charge computer software (and any enhancements or revisions thereto)
specifically designed for the computerized preparation of tax returns, at such time as Block in its sole discretion determines.

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of this Agreement, any other business of Franchisee, including. but not limited to, copies of all customer receipts, customer tax
returns, bank statements: full, complete and accurate books and records of accounts prepared in accordance with generally
accepted accounting principles; Franchisee’s tax returns and any and all other reports, documents and records required to be
filed with any governmental authority or maintained pursuant to any Federal, state or local law. All of such books and records shall
be open to inspection by Block during Block's regular business hours. . en =

12. Limitations on Competition and Disclosure.

 

 

 

 

(1 Jone covenants that: (i) during the term hereof he will not compete, directly or indirectly whether as an owner,
Stocketder, partner, officer, director or employee, with Block or Block franchisees in the business of preparing tax returns or

performing Related Services in or within 45 miles of the Franchise Territory; in the franchise territory granted to any other Block
franchisee; or within 45 miles of any office operated by Block: (ii) for a period of one year after the termination of this Agreement
or the Transfer or other disposition of this franchise, he will not directly or indirectly, whether as an owner, stockholder, partner,

ror it by mail, ‘phone or in person, or divert trom Block or Block franchisees any parson tor whom
Franchisee prepared a tax return or performed Related Services or Additional Services at any time during the term of this Agree-
ment or the purpose of rendering of. services in.connection wi with the pre preparation ¢ of tax returns or performance of Related’Ser-
vigéS or "Additional Services: and (iii) for a period of one year after the termination of this Agreement OF INS WaNSter or Otfier
disposition of this franchise, he will not compete directly or indirectly, wnethéTas an owner, stockholder, partner, officer, director
or employee, with Block or Block franchisees in the business of preparing tax returns or performing Related Services or Addi-
tional Services in or within 45 miles of the Franchise Territory.

(b)_FJanchisee further covenants that Franchisee will never (i) divulge to or use for the benefit of any person, association
or

oration outside of the H&R Block organization, any information or knowledge concerning c ods, pro-
motion, advertising of any OHISrSVSIenis or methogs of ope ration of Block’s business or that of Block's franchisees which Fran-
chiséé Tay have acquired by virtue of his operations under this Agreement; (if) use any materials re ervices
without payment of the applicable royalty therefor and execution of an addendum regarding such Additional Services: or (iii) do
any deliberate act prejudicial or injurious to the goodwill or name of Block. Information furnished to employees shall be reasona-
bly limited to that which directly relates to such employee's duties and assists in the proper performance of such duties.

 

 

 

(c) if Franchisee violates the provisions of subparagraph (a) of this paragraph 12, Block shall be entitled to an accounting
of revenues and payment of royalties pursuant to paragraph 6 or the applicable addendum regarding Additional Services with
respect to those revenues, if any, derived by Franchisee from the preparation of tax returns or performance of Related Services
or Additional Services in violation of such provisions, such payments to continue for one year or the remainder of the initial or any
Renewal Term of this Agreement, whichever is longer. The parties expressly acknowledge and agree that such payment shall not
affect any rights or remedies Block may have, at law or in equity (including the right to seek injunctive relief), against Franchisee
by reason of the violation of this paragraph.

  

Franchisee has carefully read and considered the provisions of subparagraphs (a) and (b) and, having done so, ac-
knowte(iges that such restrictions, including but not limited to the time periods and geographical areas of such restrictions, are
fair and reasonable and are reasonably required for the protection of the interests of Block, its franchisees and their respective
clients. Franchisee further acknowledges that the qualifications for a franchise by Block are special, unique and extraordinary,
and that this Agreement would not be entered into by Block except upon condition that the provisions of this paragraph 12 be
included herein and that, as such, they be enforceable, in the event of a breach by Franchisee, by injunctive relief. Franchisee
disclaims any defense to the enforcement of the provisions of this paragraph 12 founded on any claim by Franchisee against
Block.

{e) If any provision of subparagraph (a) or (b) relating to time periods or geographical areas is found by a court of compe-
tent jurisdiction to exceed the maximum time period or geographical area such court deems reasonable and enforceable, the
parties agree that such court may enforce such provisions for such time period and within such geographical area as the court
finds to be reasonable. In addition, Block in its sole and absolute discretion may unilaterally reduce the scope of any provision of
subparagraph (a) or (b) relating to ‘ime periods or geographical areas.

(f} If, notwithstanding the foregoing, any provision of subparagraph (a) or (b) Is held to be invalid or unenforceable, such |
provisions shall be deemed to be separable and divisible from the remaining provisions, which shall continue to be valid and
enforceable as though the invalid and unenforceable provision had not been included herein.

(9) Franchisee will cause each individual employed to prepare tax returns or to supervise the preparation of tax returns to
execute an agreement, in the form prescribed by Block, containing substantially the same convenants against competition and
disclosure as are set forth in subparagraphs (a) and (b)(i).

13. Termination of Agreement.

The following constitute grounds for termination of this Agreement by Block: (a) any material and substantial breach of
the terms hereof by Franchisee including, without limitation, (I) abandonment, (ii) improper use of the Block name, (iii) failure to

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of the initial 90 days. Ifa decision iSmgwrende:ed within the time set forth herein, the arbitratiorwas# be terminated by either party
and either party may then proceed to have the matter resolved in a court of law. The arbitrator shall have no right to include or
decide issues not directly involved in any dispute before him. The expense of arbitration shall be borne equally by Block and
Franchisee. The decision of the arbitrator shail be legally binding. The location of any arbitration proceeding shall be determined
by the arbitrator provided that such arbitration shall take place within the state in which the Franchise Territory is located.

16. Assignability.

Franchisee may not subfranchise, sublicense or Transfer and retain any interest (other than a bona fide security interest) in
this Agreement. The prior written approval of Block shall be required for any Transfer, other than a Transfer to a Controlled Entity.
Block will not arbitrarily or unreasonably exercise its right to approve or disapprove any proposed Transfer and any disapproval
by Block with respect to a proposed Transfer shall be only for material and substantial reasons including, without limitation, a
proposed Transfer in violation of any provision of this Agreement. ,

Approval by Block of a Transfer shall be subject to and conditioned upon the following: (i) receipt by Block of a Request to
Transfer, which request shall include the name, address and principal occupation or business activity of the proposed transferee
and such other information (including financial statements, business references and similar information) that Block reasonably
requests for the purpose of approving or disapproving such Transfer; (ii) payment of all amounts due Block from Franchisee and
the absence of any other default by Franchisee under this Agreement; and (iii) the execution by the transferee of the then current
form of Block Satellite Franchise Agreement and payment of any required deposit. If the proposed transferee is an estate, trust,
corporation or partnership then Franchisee shall also furnish to Block the name, address and principal occupation of each exec-
utor or executrix, trustee, officer and director or each partner, as the case may be, of such estate, trust, corporation or partner-
ship together with the name, address, principal occupation, and ownership interest of each significant stockholder (that is, a
holder of 10% or more of any class of voting securities of such corporation) and the name and address of a Principal, and such
other information (including financial statements, business references, and the Ii Nike) that Block reasonably requests for the pur-
pose of approving or disapproving such proposed transferee or Principal.

Block shall have 30 days from the date that all of the conditions set forth above have been satisfied and the Request for.
Transfer and all related documents have been received at Block's principal office in Kansas City, Missouri to approve or disap-
prove such proposed transferee and, if applicable, the Principal thereof, provided that, without limiting Block's rights to approve
or disapprove such proposed transferee or Principal, the proposed transferee or Principal must demonstrate to the satisfaction
of Block that he meets all of the requirements for becoming a franchisee including, but not limited to, possessing good moral
character, adequate financial resources, and the ability to operate the business of the franchise in accordance with Block's high
standards. If Block approves the proposed transferee and Principal, the Transfer shall become effective upon the written ap-
proval of Block. If Block disapproves the proposed transferee or Principal, it shall give Franchisee written notice setting forth the
reason or reasons for such disapproval within the above 30-day period. In the event of such disapproval, Franchisee may re-
quest arbitration or, one time only, submit an alternate Request for Transfer to Block within 30 days after the giving of notice of
such disapproval, subject to all of the foregoing conditions with respect to the initial Request for Transfer.

An assignment of this Agreement to a Controlled Entity shall not be subject to the requirements on Transfer set forth
above. However, Block shall be notified in writing at the time of such assignment of the. name of the Controlled Entity, the effective
date of such assignment and the name and address of each officer, director and significant shareholder(s) (as defined above), ifa
corporation, and of each general partner, if a partnership, and shall thereafter be notified in writing from time to time of any
changes in the information required. In the event of an assignment of this Agreement to a Controlled Entity, Franchisee shall
remain fiable for the prompt and faithful performance of all terms, convenants and conditions of this Agreement until a Principal is
appointed and approved by Block or until! a Transfer occurs.

Franchisee’s interest under this Agreement may be mortgaged or pledged without Block's approval, provided that no
Transfer of Franchisee’ 's interest on the foreclosure of such mortgage or pledge shalt be effective until all of the requirements set
forth in this paragraph 16 have been, satisfied. No such mortgage or pledge shalt limit Block's right to terminate this Agreement in
accordance with its terms. :

17. Change of Principals.

If Franchisee is a Controlled Entity for which no Principal has been appointed and approved by Block and the prior Franchi-
see dies or is incapacitated, or if Franchisee is an entity that is required by paragraph 16 to have a Principal and such Principal
dies oris incapacitated, then, in either case, Franchisee shall notify Block in writing within 60 days after the occurrence of such
event of the name and address and such other information (including financial statements, business references and similar infor-
mation) that Block reasonably requests regarding a new Principal. Block shall have 30 days after receipt of such notice to ap-
prove such Principal (and may request further information), which approval will not be unreasonably withheld. Any disapproval by
Block will be evidenced by a written notice setting forth the reason or reasons for such disapproval given within the above 30-
day period. In the event of disapproval, Franchisee may propose the name of an alternative Principal within 30 days after notice
of disapproval, subject to all of the foregoing conditions with respect to the initial notification of a proposed Principal or may
request arbitration within such time period. If Block does not disapprove such Principal, such Principal shall execute the docu-
Ment required to become a Principal and shail promptly forward it to Block. If such Principal fails or refuses to promptly execute
such document or if no Principal is approved by Block as provided, Block shalt have the right to terminate this Agreement.

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27. Heirs, Successors and Assigns.

Except as limited by paragraph 16 and related provisions herein, this instrument shall be binding upon and inure to the
benefit of the respective successors, assigns, heirs, executors, administrators, and legal representatives, of the parties hereto.

28. Notices.

All notices required hereunder shall be in writing and shall be deemed sufficiently served by mailing, postage prepaid, via
certified or registered mail, with respect to Franchisee, to the address shown below, and with respect to Block, to its principal
office, 4410 Main Street, Kansas City, Missouri or to such other address(es) that may hereafter be designated by either party to
the other, and shail except as otherwise provided herein be deemed to have been given‘as of the date so mailed.

29. Binding Effect.
This Agreement shall not be binding on either Block or Franchisee unless and until this Agreement has been executed by
Franchisee and an executive officer of Block (that is, the President, Executive Vice President, or any Vice President of Block),

and attested to by its Secretary or Assistant Secretary.

in Witness Whereof, the parties hereto have executed this Agreement the date first above written.

(Franchisee) / / TD
H&R Bloc , inc. .

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By Field CFE [10 LLihf Chip Yb
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2) SB eee Yoel, T3011

Assistant Secretary (City, State)

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H & R.Block, Inc.
4410 Main Street
Kansas City, Missouri 64111

Gentlemen:

Re: Request for Approval of Transfer to Individual

The undersigned Franchisee under the Satellite Franchise
Agreement(s) described in the attached Assignment Agreement
requests your approval (as required by the terms of said
Satellite Franchise Agreement(s)) to transfer and assign said
Satellite Franchise Agreement(s) to the following Transferee:

ELitz-p 7 Chie key

Name. , 4

xa LLO Lhulberrd SZ
Diee Ville lw. 2860/7

cit ' State Zip Code
ax frega catia.
Principal busifiess activity

Attached for your review is a questionnaire (including
financial statement) which has been completed and signed by
the Transferee as of a date no earlier than 90.days prior to
the date of this request.

The executed Assignment Agreement which is attached will
become effective (as provided by the terms of said Satellite
Franchise Agreement(s)) 30 days after your receipt of this
letter and enclosures unless you disapprove of the Transferee
in writing to the undersigned within said 30-day period, setting
forth the reasons for such disapproval. -

Very truly yours,

Beneficiary) of Ale My ian pies
Franchisee

410 Mulberry St

 

 

+ Address
Colberuy fe. a S817
city State Zip Code

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ASSIGNMENT AGREEMENT

(for transfer to an individual)

     

  

THIS AGREEMENT is made and entered into as of Mol 3d, i98¥,
by ; AAT <A Zoe Willian M. Allen (the "Franchisee")

 

(the "Transferee"), WITNESSETH:

 

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WHEREAS, the Franchisee is he holder of the right to prepare income tax
returns under the name and service mark "H & R Block" pursuant to the Satellite
Franchise Agreement(s) described below (the "Satellite Franchise Agreement",
whether one or more), and

WHEREAS, the Franchisee desires to transfer and assign to the Transferee
all of the Franchisee's right, title and interest under the Satellite
Franchise Agreement, and the Transferee desires to accept such transfer and
assignment, and

WHEREAS, the Franchisee and Transferee acknowledge that such transfer and
assignment may be made only with the approval of the franchisor named in the
Satellite Franchise Agreement (the "Franchisor"), and only upon compliance with
certain terms and conditions of the Satellite Franchise Agreement, one such
condition being that Transferee execute the current form of Block Satellite
Franchise Agreement and pay the deposit required by such Agreement, and
Transferee is willing and intends to execute such current form of Agreement
and to pay such deposit;

NOW, THEREFORE, in consideration of the foregoing and the mutual promises
contained in this Agreement, the parties covenant and agree as follows:

1. Assignment. The Franchisee hereby transfers, assigns and delivers to
the Transferee all of the Franchisee's right, title and interest in and to the
Satellite Franchise Agreement (but not any deposits held by the Franchisor under
the Satellite Franchise Agreement), subject to the approval of the Franchisor,
as required by such Satellite Franchise Agreement, and subject to all other
terms, covenants and conditions of such Satellite Franchise Agreement and to
the obligations incumbent upon the Franchisee under such Satellite Franchise
Agreement.

2. Acceptance. The Transferee hereby accepts such transfer, assignment
and delivery of the Franchisee's right, title and interest in and to the
Satellite Franchise Agreement and, for the benefit of the Franchisee and the
Franchisor, and to induce the Franchisor to approve the transfer provided for
herein, the Transferee agrees to execute the current form of Block Satellite
Franchise Agreement to replace the Satellite Franchise Agreement transferred
to the Transferee by the Franchisee, and to faithfully perform all of the terms,
covenants, conditions and obligations incumbent upon the franchisee under such
current form of Block Satellite Franchise Agreement.

3. Effectiveness. This Agreement, and the foregoing assignment and
acceptance, are subject to the approval of the Franchisor named in the Satellite
Franchise Agreement, and shall become effective only if, 30 days after receipt
by said Franchisor of the Request for Approval of Transfer (attached hereto),
said Franchisor shall not have disapproved of the Transferee in writing to the

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EXHIBIT D

RECEIPT

The undersigned hereby acknowledges receipt of a copy of H & R Block,

inc. 's Uniform Franchise Offering Circular and Franchi. se Disclosure Statement
2 :

Dated this | | Tr h day of Movember , 1969 ,

 

RECEIPT

_ The undersigned hereby acknowledges receipt of a copy of the
Satellite Franchise Agreement with all blank spaces completed.

Dated this // 4 day of 4),) ,19 &Y,

(by 2th
Ail A Yury

FOR SATELLITE DIRECTOR'S USE ONLY.

Date Satellite Franchise
Agreement and deposit, received:

 

 

 

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H&R Block, Inc.

Executive Offices

4410 Main Street

Kansas City, Missoun 64111

(816) 753-6900

September 23, 1982

‘

Ms. Mary Ellen Murphy ~
313 North Ave.
Henderson, TN 38340

Dear Ms. Murphy:

 

Your request to transfer and assign your interest under your

Satellite Franchise Agreement for Bolivar, TN dated July 20;

1978 to Betty O. Plunkett has been received.

Such transfer. andassignment is approved, subject to the

following conditions:

NONE

 

 

 

Our records have been changed to reflect such transfer. and

assignment, effective September 23, 1982.
;
Very truly yours,

H & R BLOCK, INC.
7 _—_——
erb Fortner
Director,

Satellite Franchise Operations |

PF/cm

cc: Betty 0. Plunkett

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HéR BLOCK

THE INCOME TAX PEOPLE

H & R Block, Inc.
4410 Main st.
Kansas City, MO 64111

Gentlemens:

This 18 to notify H&R Block, Inc. of my intent tosell and
transfer ownership and control, without reservation, of
the satellite franchise for the City Of Collierville,

| Tennessee, from myself, A. Alexander Allen — beneficiary
of the Estate of William M, Allen, owner of record = to
Mary Ellen Murphy, presently of Henderson, Tennessee,
effective 1 December, 1984. The mailing address will
remain the same,

This sale and transfer contingent on the company's approval
of Ms. Murphy as the new owner.

Yours very truly,

0. Ole pond il

A. Alexander Allen
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, H&RBLOCK —
Personal Qualifications Summary
Date Received

 

All information given here will be held in strict confidence.

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10.

Kind of School

Elementary (Grade School} Waals Slom- - 7 VAsdalia Le
Secondary (High School) Wesker MM; stacy As

College or University
Trade or Correspondence

Other Education

> Y N

A. Personal Information

Name “Phi i e A Muceb _
Residence address _<>. i 23 Math Ave | Heder sad) Ta Jb3 J7)

 

 

 

State/Province Zip/Postal Code
Residence telephone (BO/ 1 7S 7-$R2 ge”
Atea Cod e
Date of birth Al-1 ~ 96
Are you married?_LAZ, divorced? separated?

 

single? widowed?

Name of spouse_ I ]eey E22 EW utah

Number of children and 42)) Qt) _/ 2, Z S L Ps

What was your last serious illness? 290 De: 's i iae. e. e hi ld Mood
How long did it last? When

 

 

Present health is excellent »< ,good__ ,fair___ | poor *

‘Social Security/Social Insurance Number 3/5 — ZO” E733

Graduate ©

Name and Location No.

  
 

 

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Cc. Business Experience

Principal occupation “Real Est ate Broke c+ He RS hock Fradchise 0: Owe Cc
Employer and addresC heraKee bh add para

Approximate annual income for last tax year $ 0 0.

 

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Have you been, or are you now, an officer, director, partner, or owner (whether as investor ¢ or F otherwise) ofa business franchise

 

other franchisor or franchisee)? ; Sif so, specify

List those business organizations, if any, in which you held office of either director or officer

 

 

Have you, or has any business organization controlled, directly or indirectly, by you, been adjudicated a bankrupt or r been a

party to a reorganization under the Federal bankruptcy laws? 7 If so, specify _

 

 

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7. Are any lawsuits pending, or to your knowledge, threatened, against your Vp _ ; if so, specify

 

 

8. Are there any judgments outstanding against you? Ap ; if so, specify

 

9. Have you ever been convicted of a crime (other than traffic misdemeanors)? My ; Hf so, specify_

 

 

 

10. Have you served in the militarye_/p_It so, which branch?

Have you received an honorable discharge? If not, explain

\

 

 

 

11. Business experience for past 10 years:

  
   
    
   
    
        
   
 
  

 

 

From To Firm | Position
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12, Nature of supervisory experience, if any:

 

 

 

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- D. References
a4 Character references “(ist three, with fadresses)

Reference Check

  

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3. Your personal bank_ +H aicke OO: A A2. Couns ,
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4, Your business bank(s) CHESTER Cos DAK. (HeR Block Aect-J

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how long? 3 Y rs
E. Financial Statement

Assets
Cash  $__Z 5 Q 2
Cash value life insurance | 3.5 a o

Securities (at lower of cost of approximate market):

 

 

 

 

Notes receivable:

 

 

Accounts receivable: .

 

  
  
 

 

Real estate (at lower of cost or approximate market): os

» .

 

 

 

Trai bw
Other assets é

TOTAL ASSETS

 

 

 

    

Liabilities
Notes payable (unsecured)
Notes payable (secured, including mortgage notes)
Borrowed on life insurance
> ecciints payable (notdue) = =
. Accounts payable (past due)

Taxes due and payable

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Other liabilities -

 

 

$ 200
$ 3,40

 

TOTAL LIABILITIES

Net Worth (total assets less total liabilities)

Further financial information
Guarantees or other accomodations
Amount of life insurance

Other contingent liabilities and obligations (describe):

 

 

Please insert below any other information which you believe would assist us in determining your qualifications to be responsible
for performing ail of the terms, covenants, conditions and obligations under an H & R Block Satellite Franchise Agreement.

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wife . She has managed Aw H+ PR Blok O° C-c-2!
Gos the last LZ years : : |

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All of the information contained in this Questionnaire is current asof_A2eU ss BO , 19 Ft , and is trué and
’ correct to the best of my knowledge. | authorize inquiry of any person or firm listed above for information regarding my character or

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financial condition.

! have. reviewed all of this Personal Qualifications Summary.

  

 

 

ite Franchise

Date

 

Regional Director

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Page 4
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Peay choos ~

 

H&R Block, Inc.

Corporate Headquarters
4410 Main Street

Kansas City, Missouri 64111

(816) 753-6900

January 22, 1985

Mr. A. Alexander Allen

Beneficiary of Estate of William Allen
110 Mulberry St.

Collierville, TN 38017

Dear Dear Mr. Allen:

Your request to transfer and assign your interest under your
Franchise Agreement for Collierville, TN dated June 20, 1977 to
Phillip Murphy has been received.

Such transfer and assignment is approved, subject to the
following conditions:

_ The $300 deposit now being held by H & R Block in the name
of Mary Murphy for Bolivar, TN will be transferred to
Phillip Murphy for Collierville, TN. and an additional
$300 will be put up to cover the required $600 satellite
deposit.

Our records have been changed to reflect such transfer and
assignment, effective January 17, 1985.

Very truly yours,

INC.

 

Pefb Fortner
Director,
Franchise Operations

PF/cm

cc: Phillip Murphy
Larry Carver
Arnold Bixler
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REGION _a | Pe) M CIPC

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SATELLITE FRANCHISE
ELECTRONIC FILING AGREEMENT

THIS AGREEMENT is entered into as of the 19 day ofNovember ___, 1999 , by
and between H&R Block EASTERN Tax Services, Inc., a Missoun corporation
("Block"), and__Phillip A. Murphy ("Franchisee").

 

WHEREAS, Block and Franchisee are parties to a Satellite Franchise Agreement or
Satellite Franchise Agreements identified by date(s), franchise termtory or territories and location
code(s) as follows: :

Date Franchise Temito Location Code
/1-30-S4
Jest GoS__— Colliervilis,—IN —-39950-—

 

 

 

 

 

 

 

 

 

 

(all of which may be referred to collectively as the "Satellite Franchise Agreement” or may be referred
to separately as “each separate Satellite Franchise Agreement,” as the context requires); and

WHEREAS, Block is willing to permit Franchisee to use, and Franchisee desires to
use, a system developed by Block ("Block's System") by which Franchisee may provide to Franchisee's
customers services (referred to jointly herein as the "Electronic Filing Service") consisting of (1) the
electronic filing of income tax return information with the Intemal Revenue Service and, In some Cases,
with state income tax authorities (referred to jomtly herem as “IRS”); (2) the direct deposit by the IRS
ofa customer’s tacome tax refund into his or her tank account; (3) the "RAL Service," which inchides
the electronic transsaission to a lending institution ("Bank") designated by Block of income tax returm
information and other information necessary for a customer to apply to Bank for a refund anticipation
joan ("RAL"), the electronic transmission of the approval or rejection of the RAL application from
Bank to Block or Franchisee, the issuance of a RAL disbursement check to an approved applicant and
the deposit by the IRS of such custopuer’s income tax refund into the customer's designated account at

_ Bank; and (4) the refiund anticipation check service ("RAC Service") (a simular service previously

no /t

offered was known as electronic refund service, or ER Service), which includes the electronic
transmission to a depository bank designated by Block ("Depository") of a customer's request for a
refund anticipation check ("RAC") and such other information as is required by Depository in
connection with such request, the deposit by the IRS of such customer's income tax refixad into
customer's designated account at Depository and the subsequent issuance of a RAC to the customer 10

EXHIBIT |

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the amount of the customer's income tax refund, less any fees that the customer has agreed may be
withheld from such check by Depository, and

WHEREAS, subject to modification pursuant to Section 17 herein, Franchisee may
make use of Block's System to provide the Electronic Filing Service to Franchisee's eligible customers
through one of three metbods, to wit, (1) by accessing a computer or computers to Block's System,
entering income tax return information, direct deposit information, any RAC request information and
any RAL application information (which mforation will hereafter be jointly referred to as “Customer
Data") on such computer(s) and transmitting to CompuServe Network Services Incorporated
(formerly, CompuServe Incorporated) (or any other telecom-nmunications businesses used. by Block in
connection with Block’s System, all of which shall be jointly referred to herein as “CompuServe”) such
Customer Data (which optional method sball hereafter be referred to as the "PC Option"); (2) by
delivering Customer Data and such documentation as is required by Block to a Block processing
center designated by Block from which Block will transmit such Customer Data to CompuServe
(which optional method shall hereafter be referred to as the "Messenger Option"); or (3) by delivering
Customer Data and such documentation as is required by Block to "Franchisee's Agent” who holds a
franchise from Block to engage in the business of preparing tax retums and performing “Related
Services" under Block's names and service marks and who agrees with Franchisee (with Block's
approval) to transmit such Customer Data to CompuServe on Franchisee's behalf (which optional
method shail hereafter be referred to as the "Courier to PC Option’),

NOW, THEREFORE, in consideration of the premises and the nmutual covenants and
agreements set forth here, the parties agree as follows:

1. Term. Unless terminated eadier as hereinafter provided, (1) the inxtral tem of
this Agreement sball be for a period commencing os the later of November 1, 1998, or the date of this
Agreement and ending on October 31, 1999, and (2) this Agreement shall, on each November 1
thereafter, be automatically renewed for successive renewal terms of one year each.

2. Use Of System, Subject to the terms and conditions set forth below, and the
terms and conditions of the Satellite Franchise Agreement, Block agrees to permit Franchisee to use
Block's System during the term of this Agreement to. provide the Electronic Filing Service to
Franchisee's customers. Franchisee hereby elects to provide the Flectronic Filmg Service to Franchi-
see's customers by naeans of the PC Option described above. Franchisee
shall not utilize any other optional method to provide the Electronic Filing Service through use of
Block's System without the prior written consent of Block. If the "Courier to PC Option” has been
elected by Franchisee, "Frapchisee's Agent” shall be , whose franchise
territory is

 

Block may frona time to time announce that other suethods of use of Block's Systema or

new services added to the services comprising the Electronic Filing Service are available to Franchisee.

In any such event, Franchisee may change to a new method or add such new services in accordance
with procedures specified by Block.

Sac Frapchise Electronic Filing Agreanent 7/98

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During the initial term and any renewal term of this Agreement, Block's System may be
used by Franchisee to provide to Franchuisee's customers each separate service compnismg the
Electronic Filing Service only during that portion of such term in which Block's System is made
available by Block for use at Block's Company-owned offices to provide such service to Block's
customers. Block sball announce via the Block News Network, TaxNet or any other wutten or
electronic communication directed to participating franchise owners any dates established by Block as
the fixst date or last date during such term that a particular service may be provided by Franchisee to
Franchisee's customers through the use of Block's System. Any such announcement shall not
constitute a “notice” required or given under this Agreement and need not meet the notice
requirements set forth in Section 24 berem.

3. Conditions Precedent. Block and Franchisee agree that this Agreement, and
their respective rights and obligations dunng the initial term and each renewal term hereunder, are

- expressly conditioned upon (a) Block's being accepted by the IRS to participate in the electronic filing

program for the "Tax Season" (the period from the first Monday after January 1 through the last date
on which individual federal income tax retums for the preceding year may be filed without an extension -
of time or incurting any penalty for late filing) mcluded in such term, (b) Franchisee's beg accepted by
the IRS to participate in the electronic filimg program for the Tax Season included in such term; and (c)
Francbisee's satisfactory completion dunng such term of such training in the use and operation of
Block‘s System as is determined by Block to be necessary.

A. Integration With Franchise Agreement. The parties hereto agree that the
Electronic Filing Service and each separate service which is a part thereof constitute “Related

Services,” as such term is defined in the Satellite Franchise Agreeruent, and that all provisions in each
separate Satellite Franchise Agreement under which the Electronic Filing Service is conducted which
pertain to Related Services shall pertain to the Electronic Filing Service. Any provision m this
Agreement pertaining to the Electronic Filing Service which differs from any related provision of the
Satellite Franchise Agreement pertaining to Related Services shall constitute an amendment to the
Satellite Franchise Agreement solely with respect to the Electronic Filing Service. Franchisee's matenal
and substantial breach of the terms of this Agreement shall entitle Block, in addition to all otber
remedies for such breach herein provided, to terminate each separate Satellite Franchise Agreement to
which the breach relates in accordance with the terms hereof.

5. Licensed Marks: Advertising. The parties hereto apree that any name or
logotype used by Block io connection with the Electronic Filing Service shall constitute a “Licensed
Mark," as such term is defined in the Satellite Franchise Agreement. Franchisee agrees to use the name
or pames and/or logotype or logotypes selected by Block for use by Block aod Franchisee in describing
or warketing the Electronic Filing Service, and Franchisee agrees not.to use any other name or
logotype in connection with the Electronic Filing Service without the express wiitten consent of Block.
Franchisee shall not publish or release any communication relating to the Electronic Filing Service (a)
inferring a special relationship between (i) the IRS, the Financial Management Service and/or the
Department of the Treasury, and (it) Franchisee, Block, CompuServe, Bank, Depository and/or any
other person or entity, or (b) xferriog endorsement of the Electronic Filing Service, Block's services,
Franchisee's services, Bank's services, Depository's services or Block's System by the IRS, the Financial
Management Service or the Department of the Treasury. All communications relating to the

Sat, Pranchisc Electronic Filing Agreesnentt 7/98

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Electronic Filing Service shall comply with the then current IRS Revegue Procedures or other IRS
announcements oc publications containing the obligations of participants in the electronic filmg
program and the specifications for the electronic filing of income tax returns (the "Specifications”) and
any other rules, regulations or restrictions issued by the IRS.

6, Grant Of License (PC Option Only). If Franchisee makes use of Block's
System, by means of the PC Option, Block hereby grants Franchisee a revocable license to use the

software and users guide furnished by Block to Franchisee pursuant to Section T, below, for the sole
purpose of conducting the Electronic Filing Service, subject to the {imitations and restrictions set forth

jn this Agreement.

7. Items To Be Fumished By Block (PC Option Only). If Franchisee has elected
to use Block's System under the PC Option, and if Franchisee has satisfactonly completed such trang
as is provided by Block pursuant to this Section 7, Block shall provide Franchisee each year during the
term of this Agreement with one copy of the software developed as a part of Block's System for use
with computers in entering and correcting Customer Data of Franchisee's Electronic Filing Service
customers and transmitting such Customer Data to CompuServe, and one copy of a user's guide to
such software. Dusing the initial term and each renewal term of this Agreement, Block shail provide
Franchisee with such training in the use and operation of Block's System and such technical and
software support as is detennined by Block to be necessary. Any training to be provided by Block
shall be held on such dates, at such times, and at such locations as are designated by Block.

8. Restrictions On Use Of Proprietary Material (PC Option Only). Franchisee
agrees that the license pranted by Block to Franchisee herein entities Franchisee to use the licensed

materials, and Franchisee agrees to use such matenals, only to operate the Electronic Filing Service,
and Franchisee further agrees that, woless expressly authorized herein to do so, Franchisee

a will not, without the prior written consent of Block, copy or otherwise
reproduce, modify, sell or exchange such materials, of transmit (by telephone lines or otherwise), give
away, or disclose such nuaterials to any other person or firm, or permit any other person ox firm to do
SO,

b. _- will not license or permit any other person, other than Franchisec's
employees in, the course and scope of their employment, or firm to use such materials; and

c. will not, without the prior approval of Block, contract with any person
or firoa engaged in the conduct of a tax retum preparation service to provide a transmission service for
such person or firm, and will not use the matenals furnished by Block for the benefit of or to assist such
person or firm in the conduct of such tax retum preparation service.

if requested by Block, Franchisee agrees to (1) retum to Block all copies of Block's
System software and/or all copies of any user’s guide to such software, whether or not such software
or guide was fumished by Block, upon the expiration of the initial or amy renewal term of this
Agreement or upon the termination of this Agreement and (2) execute a certificate, in a form required
by Block, that no copies of such software and/or guide have been retained by Franchisee.

Sat. Franchise Electronic Filing Agresnent 7/98

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Franchisee has read and considered the foregomg restrictions carefully and
acknowledges that such restrictions are fair and reasonable and are reasonably required for the
protection of the interests of Block. Franchisee further acknowledges that this Agreement would not
be entered into by Block except upon the condition that such restrictions be included herein and that
they be enforceable, in the event of a breach by Franchisee, by myunctive relief.

9, Hardware (PC Option Only). If Franchisee bas elected the PC Option,
Franchisee will furnish, install and operate, at Franchisee's own expense, the conaputers, modems and
pnuters ("bardware") necessary for Franchisee to enter Customer Data, to transmit such Customer
Data to CompuServe and to receive and print communications from Block or CompuServe concerming
such Customer Data. Such hardware oust either meet the exact hardware configurations specified by
Block for use with Block’s System (which exact hardware configurations shall include, but not be
[ited to, brand names, types, models and storage capacity) or be hardware compatible thereto with
which Block's System and its software will operate, provided that Block's obligation to provide
technical and software support services pursuant to Section 7, above, is conditioned upon Franchisee's
hardware meeting the exact configurations specified by Block. Hardware meeting the exact
configurations specified by Block may be purchased by Franchisee through Block’s Supply Department
in accordance with such procedures and deadlines as may be established by Block. If the price of the
hardware has not been determined at the time an order for such hardware is placed, Block will advise
Franchisee of the price as soon thereafter as the pnce can be detenpined and at least 10 days prior to
shipment, and if such price is not acceptable to Franchisee, Franchisee may cancel the order within five
days after Franchisee has been advised of the pace. If the hardware is purchased through Block's
Supply Department, Franchisee will be responsible for any freight charges (as determined by Block)
not paid by the supplier. Block will invoice Franchisee for the hardware and any freight charges and
payment of such invoice will be due 10 days after the date of invoice.

10. Transaction Fee And Other Expense To Be Bome By Franchisee. Franchisee
shall pay to Block a transaction fee ("Transaction Fee") of $1.00 per return for all federal tax returns
successfully electronically transmitted and $1.00 per xetum for all state tax retums successfully
electronically transmitted for customers of Franchisee.

The successful transmission of a tax retum shall be evidenced by an acknowledgement
by the IRS or applicable state tax authority of acceptance of such return for filtog. Block expressly
retains the right to change the Transaction Fee upon ten days prior notice to Franchisee, which notice
sball be given in accordance with Paragraph 24. Any such notice shall be given no later than
November ] of the then current calendar year. If Block elects to change the Transaction Fee,
Franchisee shall have the right to temminate this Agreement upon giving written notice to Block on or
before December 1 of the then current calendar year.

In addition to the Transaction Fees mentioned above, the expense, if any, of furnishing,
installing and operating the bardware referred to im Section 9, above, the Service Fees, if any, refexred
to in Section 11, below, and any processing or other fees relating to the RAL Service or RAC Service
mentioned in Section 16, below, Franchisee shall pay all expense relating to the Electronic Filiog
Service other than any expense for which Block is expressly obligated under the tems of the Satellite

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Franchise Agreement. The expense to be paid by Franchisee includes, but is not imited to, wages and
conamissions paid to employees of Franchisee who assist in the operation of the Electronic Filing
Service; such freight charges (as deternoined by Block), if any, associated with the shipment from Block
to Franchisee of the software and user's guide referred to in Section 7, above, if Franchisee has elected
the PC Option; such charges, if any, that may be made by Franchisee's Agent to Franchisee, if
Franchisee has chosen the Courier to PC Option, for transmitting Customer Data to CompuServe; and
all costs associated with delivery ftom Franchisee to Block or from Block to Franchisee, or, if
applicable, between Franchisee's Agent and Franchisee of (a) Customer Data, (0) any RAL or RAC
disbursement checks or (c) any documents relating to the Electronic Filing Service as are required by
Block. .

11. Service Fee (Messenger Option Only). If Franchisee has elected the
Messenger Option, Franchisee sball pay to Block a fee (the "Service Fee") for the services to be
rendered by Block in entering Customer Data received from Franchisee into computers operated by
Block, editing such Customer Data, transmitting Customer Data to CompuServe, processing
documents required by the IRS in connection with the Electronic Filing Service, and providing to
Franchisee such naanagement reports regarding Franchisee's Electronic Filing Service as are determined
by Block to be necessary. The Service Fee shall be $3.25 for each tax retum successfully transmaitted
for a customer of Franchisee, as evidenced by an acknowledgement by the IRS of acceptance of such
return, for filing. Block expressly retains the right to change the Service Fee upon ten days prior potice
to Franchisee, which notice shall be given mm accordance with Paragraph 24. Any such notice shall be
given no later than November 1 of the then current calendar year. If Block elects to change the Service
Fee, Franchisee shall have the ngbt to terminate this Agreement upon giving written notice to Block on
or before December 1 of the then current calendar year.

12. Royalties. Except as otherwise provided in this Section 12, all of Franchisee’s
gross receipts from the Electronic Filing Service shall be subject to royalties payable by Franchisee to
Block at the times and at the royalty rate specified in each separate Satellite Franchise Agreement. It is
expressly understood and agreed that the gross receipts from the Electronic Filiog Service are in
addition to, and not in lieu of, the gross receipts desived by Franchisee from the preparation of the tax
returns that are filed electronically, and that, except as provided in this Section 12, the total of all such
receipts shall be deemed to be Franchisee’s gross receipts for the purpose of calculating franchise
royalties payable by Franchisee to Block under the applicable, separate Satellite Franchise Agreement

If Franchisee has elected the PC Option, Fraochisee's gross receipts from the Electronic
Filing Service shall include any sums recerved by Franchisee from any other bolder of a satellite
franchise granted by Block for whom, with Block's approval, Franchisee acts as an agent in the conduct
of said franchise holder's electronic filing service, for the transmission by Franchisee of Customer Data
of said franchise holder's customers to CompuServe through use of Franchisee’s hardware and Block's
System, but only to the exteat that such sums exceed $3.25 per tax retum so transmitted by Franchisee
on behalf of said franchise holder.

13. Reports. Within the time period after the end of each Reporting Period m
which Franchisee, by the terms of each separate Satellite Franchise Agreement, is required to submit to
Block reports of Franchisee’s gross receipts from the preparation of income tax retumms and the

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performance of Related Services for such Reporting Period, Franchisee shall also subgoit to Block such
reports as may be required by Block in connection with the Electronic Filing Service. Franchisee shall
keep books and records relating to the Electronic Filing Service which are separate and distinct from
books and records pertaining to tax return preparation, other Related Services, and any Additional
Services offered to the public by Franchisee, and such books and records shall be open to inspection by

Block during regular business hours.

14. Payment. Of Fees And Royalties. The Transaction Fee, Service Fee, royalties
due pursuant to Section 12 herein and any processing or other fees relating to the RAL Service or the -
RAC Service mentioned in Section 16, below, are independent of each other and are cumulative. All
of such fees and royalties shall be due and payable by Franchisee at the same times that royalties on
Franchisee’s gross receipts are due and payable pursuant to each separate Satellite Franchise
Agreement, Time shall be of the essence as to ail reports to be made to Block and all fees and royalties
to be paid by Franchisee to Block. All of such fees and royalties are exclusive of sales tax, use tax, or
any similar tax imposed by any unit of government. In the event that any such tax is imposed upon any

‘such fee or royalty, or upon any transaction charges attributable to tax retums of Franchisee’s

customers which Block must pay to CompuServe, Franchisee agrees to pay such tax.

15.  Franchisee's Conduct Of Business. Except for the obligations of Block
specified herein or in the Satellite Franchise Agreement, the operation of the Electronic Filing Service
shall be solely the respousibility of Franchisee. Franchisee agrees to conduct the Electronic Filimg
Service in full compliance with (a) all provisions of this Agreement and the Satellite Franchise
Agreement; (b) the Specifications and any other mules or regulations publisbed by the IRS relating to
the electronic filing of tax retums and the direct deposit of income tax. refunds; (¢) any other applicable
Jaws, rules or regulations of any federal, state or jocal governmental body, and (d) the procedures,
guidelines and restrictions adopted by Block for Franchisee’s conduct of the Electronic Filing Service
and Frauchisee's use of Block's System. Franchisee acknowledges and agrees that any such
procedures, guidelines and restrictions adopted by Block may, at Block's discretion, differentiate
Franchisee from other H&R Block franchise owners utilizing, Block's system on the basis of the
optional method of use of Block’s System selected by Franchisee, the location, volume history or other

characteristic of Franchisee's franchise operation or the duration of Franchisee's participation in. the
electronic filing program.

16. RAL Sexvice And RAC Service. Franchisee agrees to comply with any
obligations or restrictions imposed upon Block pursuant to the terms of any agreement pertaining to
the RAL Service or the RAC Service to which Block and Bank are parties (the "Bank Agreement”),
except to the extent otherwise expressly provided in such Baok Agreement or in the procedures,
guidelines and restrictions adopted by Block for the conduct of the Electronic Filng Service.
Franchisee's obligation with respect to the RAL Service and the RAC Service includes, but is not
limited to, compliance with all provisions found in the Bank Agreement, Specifications, laws,
procedures, guidelines and restuictions that relate to Franchisee’s cate, custody, bandling, issuance
and/or delivery of RAL or RAC disbursement checks and the processing, under appropriate
circumstances, of stop payment orders relating to RAL or RAC disbursement checks. Upon
termination of the Bank Agreement, Franchisee’s RAL Service or RAC Service shall ternunate.

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Franchisee agrees to pay any RAL processing fee or other fee imposed by Bank upon
Block or Franchisee for the services of Bank in processing a RAL application and/or providing a
Refund Anticipation Loan to a RAL customer of Franchisee. Franchisee agrees to pay any RAC
processing fee or other fee imposed by Depository upon Block or Franchisee for the services of
Depository in processing a RAC request and/or providing a RAC to a RAC customer of Franchisee.
In no event shall any fee paid by Franchisee pursuant to this Section 16 with respect to any customer of
Franchisee'’s RAL Service or Franchisee's RAC Service exceed the fee which Block would be required
to pay to Bank or Depository pursuant to the Bask Agreement if such customer were a customer of
Block’s RAL Service or Block's RAC Service.

In the event of Franchisee's failure to comply with the obligations umposed upon
Franchisee in this Section 16 pertaining to Franchisee's RAL Service, Franchisee's nght to use Blocks
System pursuant to this Agreement for purposes of providing the RAL Service to Franchisee's
customers may, at Block's discretion, be terminated immediately upon written notice from Block to
Franchisee of such failure.

In the event of Franchisee's failure to comply with the obligations imposed upon
Franchisee in this Section 16 pertaining to Franchisee’s RAC Service, Franchisee’s nght to use Block's
System pursuant to this Agreement for purposes of providing the RAC Service to Franchisees
customers may, at Block's discretion, be terminated immediately upon wnitten. notice from Block to
Franchisee of such failure.

17. Modifications By Block. Effective on November 1 of any renewal term, Block
shall have the right to (1) eliminate or modify any of the optional methods of Franchisee's use of
Block's Systems; (2) eliminate or modify any of the services which comprise the Electronic Filing
Service; or (3) change the exact hardware configurations for hardware to be used with Block's System.

If Block elects to make any of the foregoing modifications, Block shall potify Franchisee on or before
August 15 of the initial term or renewal tenn immediately preceding the renewal term in which such
modification shall become effective (which preceding initial term or renewal temo. shall be referred to
herein as the "Preceding Term").

If (1) Franchisee utilized the elinsinated or modified optional method of use of Blocks.
System during the Preceding Term, (2) a service comprising, the Electronic Filing Service during the
Preceding Tenn is eliminated or substantially modified, or (3) the exact hardware configurations
specified for use with Block's System are substantially modified and Franchisee utilized the PC Option
during the Preceding Term, then Franchisee shall bave the right to terminate this Agreement upon
giving written notice to Block on or before Angust 31 of the Preceding Term.

18. Exclusivity. The Electronic Filing Service shall be the only electronic tax return
filing service, direct deposit service, refund anticipation loan service and electronic refund service
offered by Franchisee, except as may be expressly permitted by Block in writing, and Franchisee shall
use mo system other than Block's System, no transmission facilities otber than CompuServe's
conomaunication lines, no RAL lending institution other than Bank and no RAC depository bank other
than Depository in the conduct of the Electronic Filing Service,

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19. Disclaimer Of Warranties, Block makes no representation of warranty as to
the reliability or fitness of Block's System or as to the success or profitability to Franchisee of the
Electronic Filing Service to be conducted hereunder by Franchises, or that in the fixture the electronic .
filing of tax returns, the direct deposit of income tax refunds or refund anticipation loans will be
permitted by the IRS or that Block will contioe to offer its System for electronic filing. Block does not
represent or warrant that the Block Program or any enhancement or modification thereto or their
ability to process data will not be adversely affected in any way with the introduction of dates which
jnchide the year 2000. BLOCK DISCLAIMS ALL WARRANTIES, WHETHER EXPRESS OR
IMPLIED, WITH RESPECT TO BLOCK’S SYSTEM AND THE ELECTRONIC FILING
SERVICE.

20. Limitation Of Liability. Indemnification. Block, CompuServe and/or their
respective subsidiasies, related entities, affiliates, directors, officers, shareholders, employees, agents
and successors shall not be liable to Franchisee or to any other party for any loss, damage or expense
arising out of or resulting from the nonoccurrence of the conditions precedent set forth in Section 3;
the performance or nonperformance of Block's System or any delay in performance of such Systenr,
any faihire of Franchisee's Agent to promptly and accurately transmit Customer Data to CompuServe
on behalf of Franchisee; any failure of CompuServe to perform its obligations in connection with any
transmission of data; any failure of Bank, for whom Franchisee acknowledges Block is not an agent, to
perform its obligations im connection with the RAL Service, any failure of Depository, for whon
Franchisee acknowledges Block is not an agent, to perfor its obligations in connection with the RAC
Service; Franchisee's use of Block’s Systens; or Franchisee’s operation of the Electronic Filing Service.

Franchisee shall bear all responsibility and liability for the accuracy and timeliness of the
Customer Data (1) transmitted by Franchisee to CompuServe, if operating under the PC Option, (2)
delivered by Franchisee to Block for transmission to CompuServe, if operating under the Messenger
Option, or (3) delivered by Franchisee, if operating under the Couner to PC Option, to Franchisee's
Agent for transmission to CompuServe and transmitted by Franchisee's Agent to CompuServe.

Franchisee shall assume sole responsibility, and liability for, sball indemnify Block,
CompuServe, Bank and Depository against, and shall hold thez hannless from, any loss, cost, damage
or expense (including, without limitation, the payment of penalties or interest pursuant to (i) the H&R
Block guarantee described in the H&R Block Policy and Procedure Manual, or (a) the requirements of
the IRS in connection with the electronic filing of mdrvidual income tax retums) arising out of or
resulting from (a) any act, extor or onuission committed by Franchisee or Franchisee's agents or
enuployees in the preparation of any tax retum for which the Electronic Filing Service is utilized; (b)
any act, error or omission committed by Franchisee or Franchisee's agents or employees in the conduct
of the Electronic Filing Service; (c) any loss, alteration, misuse or improper issuance or delivery of
RAL or RAC disbursement checks, whether by Franchisee or Fraochisee's agents or employees, or any
third person, resulting from any occurrence after any delivery of such checks to Franchisee and prior
to, or concurrent with, Franchisee’s delivery of auy such check to the RAL or RAC customer, (d) any
act, error or omission committed by Franchisee's Agent in entering Customer Data into said Agent's
computer or in transmitting such Customer Data to CompuServe; or (e) Franchisee's performance of
Franchisee's obligations under this Agreement, including, but not limited to, Franchisee's obligation to

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transmit to CompuServe or deliver to Block or Franchisee’s Agent, as the case may be, accurate
Customer Data in a timely manver.

21.  Teroination. This Agreement shall terminate:

a. Immediately upon the termination of the Satelhte Franchise Agreement
uoder which any Electronic Filing Service has been conducted. If Franchisee bas operated an
Electronic Filing Service under one or more separate Satellite Franchise Agreements and some, but not
all, of such separate Satellite Franchise Agreements are terminated, this Agreement shall terminate by
reason of this Subsection 21a only with respect to those separate Satellite Franchise Agreements that
have been tenminated. If Block and Franchisee are parties to one or more addenda to the Satellite
Franchise Agreement, and one or more such addenda are terminated separately from the Satellite
Franchise Agreement, this Agreement and the rights granted to Franchisee herein shall terminate only
with respect to the addenda which bave terminated, and such terminated addenda shall no longer be
considered to be a part of the Satellite Franchise Agreement for purposes of this Agreement,

b. At Blocks option, immediately upon any teroamation of the Computer
Services Agreement between Block and CompuServe relating to the Electronic Filing Service;

c If Franchisee has elected the Courier to PC Option, immediately upon
any termination of a separate agreement between Block and Franchisee's Agent under which
Franchisee's Agent is authoszed to conduct an Electronic Filing Service using Block's Systema in said
Agent's own franchise temitory or territories,

d. On any temuination date specified in a wnitten mutual termination
agreement executed by Block and Franchisee;

8 Inmediately upon (1) any dental by the IRS of acceptance of
Franchisee into the electronic filing program, (2) any suspension by the IRS of Franchisee from the
electronic filing program, or (3) any geveral refusal by the IRS to accept tax returns from Block,
CompuServe, Franchisee or Franchisee's Agent for fling electronically,

f At Franchisee's option, im accordance with Section 17 of this
Agreement; ,

g fo the event of Franchisee's material and substantial breach of the terms
of this Agreement, provided that, prior to such termination, Block shall provide written notice of the
breach to Franchisee and, if the breach is one that is curable, Franchisee shall bave 15 days from. the
date such notice is given to cure such breach. If the breach is a breach which is not curable, this
Agreement shall terminate immediately upon the giving of notice of the breach; or

b. By either party hereto, at the end of the initial tema or any renewal term

specified in Section 1 of this Agreement, upon written notice given to the otber party at least 60 days
prior to the expiration of such term.

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22. Obligations Surviving Termination. The obligations of Franchisee pursuant to
Sections 5, 8, 9, 10, 11, 12, 13, 14, 16 and 20 shall continue following termination of this Agreement.

23. Relation Of Parties. Nothing herein shall be deemed to create any principal-
agent, partnership, joint venture or relationship between the parties other than the relationship of
franchisor and franchisee (and of licensor and licensee in the case of a franchisee operating pursuant to
the PC Option), and neither party sball bave any nght or authority to incur any expense or liability
whatsoever on behalf of the other party without such other party's prior written consent. Neither party
shall be liable to any person whomsoever for any debts incurred by the other party.

24. Notices. Except as provided in this Section 24, all notices required or given
hereunder shall be in writing and shall be deemed sufficiently served by mailing, postage prepaid, via
certified or registered mail, with respect to Franchisee, to the address shown below, and with respect to
Block, to H&R Block, 4400 Main Street, Kansas City, Missouri 64111, Attention: Mr. Christopher
Meck, or to such other address(es) that may hereafter be designated by either party to the other, and
shall be deemed to have been given as of the date so mailed. Notice by Block to Franchisee pursuant
to Sections 10, 11 and 17 of this Agreement shall be deemed sufficiently served by Block's mailing,
postage prepaid, via first or third class mail, to Franchisee's address shown below (or to such other
address(es) that may hereafter be designated by Franchisee) or publication, of notice on TaxNet or the
Block News Network or any other written or electronic conanounication contaimg the information
conceming the specified ssodifications and such notice shall be deemed to have been grven by Block as
of the date such publication or other written communication is so mailed or transmitted. Notice
required under Section 17 shall be given on or before August 15 and for Sections 10 and 11 on or
before December 1 of the Preceding Tenn.

25. Integration And Amendments. This Agreement, any executed addenda hereto,
and the related provisions of any separate Satellite Franchise Agreement under which an Electronic
_ Filing Service is to be conducted express fully the understanding and agreement of the parties hereto
with respect to Franchisee's use of Block’s Systema for the conduct of the Electronic Filmg Service, and
all prior understandings or commitments of any kind, whetber oral or wiitten, concerning the
Electronic Filing Service or any other matter covered by this Agreement are hereby superseded and
cancelled, with no further liabilities or obligations of the parties with respect thereto except as to (a)
any monies due and unpaid between the parties to this Agreement at the time of the execution of this
Agreement and (b) any liabilities or obligations which survive the termination of any por Satellite
Franchise Electronic Filing Agreement between the parties hereto by the express terms of such prior
Agreement. Except as provided in Sections 2 and 17, this Agreement may not be amended or modified
other than by a written agreement executed by both parties.

26. Partial Invalidity. If any provision of this Agreement shall be determined to be
invalid, illegal or mcapable of being enforced by reason of any rule of law or public policy, all other
conditions and. provisions of this Agreement sball nevertheless remain in full force and effect, and no
provision of this Agreement shall be deemed to be dependent upon any other unless so expressed
herein.

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27. Waiver. No waiver of any term or condition of this Agreem i
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pales menting and signed by the party to be bound thereby. No waiver of any term or condition
ercor with Kespect to any act or event shall be deemed to be a waiver of such term or condition with
Tespect fo any subsequent act or event.

28. Applicable Law. This Agreement shall be construed according to
; A g to the laws of
Sete of yi ssoud unless any rule of law or public policy of the state in which the Electronic Filing
€ iS Conducted requyes that this entire Agreemen i isi oven
the lowe of ected © Agreement, or a specific provision hereof, be g ed by

29. _—_ Binding Effect: Assignability. This Agreement shall be binding enure
to the benefit of the parties hereto and their respective successors, assigns, hems, excuitore adnan
es and legal representatives, provided, however, that this Agreement Quay not be ‘assigned by
Anes ay Speration og or otherwise, without the prior written consent of Block. This

not be binding on either Block or Franchi i i
and an executive officer of Block. nes tnt has been executed by Franchises

executed as of the day and year first above written. Agreement to be

HE&R BLOCK. EASTERN
TAX SERVICES, INC.

By KL DP hitte: 4 Zac to)

“7 Vice President J Franchisee J

 

1290 Hywy 196
Address

Coflierville, TN 38017
City . State Zip Code

 

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HR BLOCK CONTRACT PROCEDURE
SATELLITE FRANCHISES
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This form is to be corapleted and forwarded to Corporate Headquarters in every instance that there is 3 change in status of an existing contract with
a satellite franchise. and whenever 3 new cantract is signer hy any satellite Ieanchiaes or major feanchises. A separate 2320 must be submitted for
each cancellation and each new agreement, except when using transfer forms. It is nol necessary to process a separate 2320 cancelling the
previous agreement when transter forms and a new agreement are used (U.S. only).

    
 
 
 

 

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State/Province OK. County 2. ier ZwiPustal Code F560 7 Location Code No, GF $ :

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WHY 18 FORM BEING PREPARED?

 

 

 

 

 

 

Naw Contract _—__ Resatellite _—_. Sale _n—.. Gancallation EH. Date. a |
Request Location Code.No. wa Conversion Replacement Transfer To: individhuat
_k Other ee ee p24 ____. Sele by Block Conversion $-8/C5-8 Conitolled Entity
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______ Non-controlied Entity

YES NO CHECK LIST

1. Has there ever bean a prévious contract on this city?
i cyas”’, has old contract been || cancelled | transferred? Name of previous holder
It cancellation, what is the reason contract is being cancelled (.e.. sale, gave back to H&A Block. cancelled by
franchisce, cancelled for cause by Block, ete.}? ee
2. Mas contact holder on new contract ever had a previous contract with H&R Block?
a. tf “yes’’, Nes previous contract been cancelled?
b. Give the {1} city, ¢21 region number, (3) positions held on previous contracts,

 

 

 

 

City Region Number — Position
3. ts contract holder a relative of any full-time employes of H&R Block?

MW “’yes'’, relationship a District of Employment
4. !s contract holder a retative of any other satellite franchise owner?

 

 

 

 

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if yes’, relationship City ___.
\
TYPE OF CONTRACT (Check One} (
Major Franchise ,__ Franchise Satellite ___ CO Satellite Sa

Deposit received * Dare

 

 

 

t, Branch Office ___ Branch Office of —>* __,.__ Lucation Code
Contract Form Now SQ If satelite, parent district Ww ~ Taraipbre 5 Location Cade 65 ISK eky
* i deposit check is for more than one satellite contract, please indicate TRANSFER DEPOSIT: Tax Season Returns

 

 

_ FROM. eninge me ee
City Location Code Tax Season Volume
APPROVED BY

Wa Te: City Locatian Code ee,
Regional Disector —__z, : Date L = Z -~& Z
Corporate Headquarters LE LAME. Date [ -f 7 “& 0

 

 

CORPORATE HEADQUARTERS USE ONLY
Cancetiation on previous contract holder received

New contract or transfer forms received tor oe Etfective transter dete ___

 

GENERAL INSTRUCTIONS

The Satellite Franchise owner signs four copies of the contract and the Satallite Director forwards the contracts to the Regional Director; the
Ragione! Director prepares the transtucent form 2320 and forwards the translucent of the 2320 to Corporate Headquarters slong with the

contracts. Corporate Headquarters will process the contracts and return signed contracts to the Regional Director for forwarding to the Satelite
Franchise owner and Satellite Director.

CHECK LIST FOR ENCLOSURES

R.D. B.D.
or Carp. or Cor,
D.D. HUdq. Sareliite Contract D.0. Hdg. Branch Office af Satelite
BD ©D _  Oeposit Check = 2 Deposit Check
a a Down Payment [if sale by Block) z = Down Payment {if sale by Bock)
QO @ Business Ins. Check/Cart = FA Business ins. Check/Card
o a Personal Qualifications Summary a Satellite Appravat Worksheet lif new branch}
O © — Form 2327 3 Receipt Page
G o Receipt Pege a 5 Letter of Resignation, Abandonment, etc.
Oo a Lotter of Cancellation, Abandonment. etc. a 7 «5-8-1 Addendum
C OO _ Ferm §-C1/CS-C} {it converting to
new contract formal
9 a Transtar Forms
3 Oo 5-8 Agreement
Oo Oo Sateiiite Appres' “Norksheet (il new city}

23208-4-85

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*Case 2:03-cv-02763-SHM-tmp Document1 Filed 10/16/03 Page 57 of83 PagelD 101

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AMENDMENT TO SATELLITE FRANCHISE AGREEMENT
THIS AMENDMENT is made and entered into this 3rd day of dam.  198Z. between H&R BLOCK
JINC. a_odssourd corporation ("Block"), and

PuHillin A. Murphey
("Franchisee").

 

In consideration of the covenants and agreements herein contained, Block and Franchisee agree that the Satellite Fran-

chise Agreement which they executed as of November 39 | 1 4, for the Franchise Territory defined and described

 

therein as the City of _Solliarville , in the County of __ Sei: and the State of
ezemnesse@ (hereafter referred to as the “Satellite Franchise Agreement’), shall be modified and

amended as follows:

1. That, notwithstanding the provisions of paragraph 10 of the Satellite Franchise Agreement, Franchisee may hereafter
conduct a bookkeeping business from the office required to be maintained under said paragraph regardless of whether or not
Franchisee conducted the bookkeeping business on the date of the Satellite Franchise Agreement.

2. For purposes of determining Franchisee's obligation to pay to Block royalties on gross receipts from services provided
by Franchisee, tax return preparation services shall be distinguished from bookkeeping services in accordance with the defini-
tions and criteria set forth in the Manuat. With respect to tax return preparation services provided by Franchisee to customers of
Franchisee’s bookkeeping business. (a) Franchisee shall use the tax forms supplied to Franchisee by Block; (b) Franchisee shalt
charge such customers separate fees for tax return preparation services and bookkeeping services; (¢) H & R Block receipts
shall be issued by Franchigee to such customers setting forth the fee for such tax return preparation services and copies of such
receipts shall be submitted to Block in accordance with the provisions of paragraph 6 of the Satellite Franchise Agreement, (d}
payments received from such customers for the preparation of tax returns shall constitute “Gross Receipts,” as said term is
defined in the Satellite Franchise Agreement and royalties shall be paid on such Gross Receipts in accordance with paragraph 6
of the Satellite Franchise Agreement.

3. Franchisee shail not conduct Franchisee's bookkeeping business under the “Licensed Marks,” as such term is de-
fined in the Satellite Franchise Agreement.

4. During and after the term of the Satellite Franchise Agreement, Franchisee will indemnify and hold harmless Block from
and against any and all loss, damage, liability, expense (including reasonable attorneys’ fees) and cost of any kind or nature,
arising out of or in connection with Franchisee’s bookkeeping business.

5. Except as specttically modified and amended herein, all of the terms, conditions and provisions of the Satellite Fran-
chise Agreement shall continue in full force and effect.

6. Except as limited by paragraph 16 and related provisions of the Satellite Franchise Agreement, this Amendment shall
be binding upon and inure to the benefit of the respective successors, assigns, heirs, executors, administrators, and legal repre-
sentatives of the parties hereto.

7. This Amendment shall not be binding on Block uniess and until this Amendment has been executed by Franchisee and
by an executive officer of Block (thatis, the President, Executive Vice President, or any Vice President of Block), and attested to
by its Secretary or Assistant Secretary.

IN WITNESS WHEREOF, the parties hereto have executed this A endment as of the op, written,
Chili A
(Franchisee / 0

H&R Block (Inc.

 

 

 

 

(Block)
HB ZZ _e2r- LP: Route 4
(Name and Office) (Franohisee's Address)
By Can 2a Coldwater, 8
Assistant Secretary * (City, State)
| RNR ON VWAATd Wo ANW u WINhs dt Onn7
"Case 2:03-cv-02763-SHM-tmp Document1 Filed 10/16/03 Page 58 of 83 PagelD 102
I~ - i
a L
A ( FRANCHISE CONTRACT PROCEDURES G -99
Region Number Oate _/ o — J

This form is to be completad and forwarded to World Headquarters in every instance where there is a change in status of an existing contract with 2
franchise, ar whenever a new contvact is signed by a franchise or major franchise, A separate 23205 must be submited for each cancellation and each new

agreement, except when using transfer forms. .
CONTRACT INFORMATION (Please type or print) 4 4 OD
Admin. Dept. 10

City Col | CCU Je. State IN County zip. d ZO} 7 Otfice Dept. ID

 

 

 

 

 

 

 

Branch (1) State Office Dept. ID Branch (2) State Offica Dept. ID

Population Contract issued To ayac 4 €\\~ YQ 1 WL ghy Contract Date

WHY IS FORM BEING PREPARED?

____ New Contract Sale by Block ____s« 8 8-2 Transier To: __sIndiividual

____ New Branch ____ Refranchise ©} additional location Controlled Entity

_____. Request for new Admin. Dept. IO Replacement or Non-controlled Entity
Electronic Filing Agreement Cancel TPS agreement only OC Relocation of Cancellation (Eff Date: ~
Conwersion to — Caper agreement only existing office inactivate the Admin. 1D?

__ Sale - ther Oves O No

YES NO Benayere| Products Lavolense. Gareemen}

—_ _-—Ss 1..: Has there evar been a previous contract on this city?
if -yes”, has old contract bean ____ cancelled ___ transferred? Name of previous holder
if cancellation, what is the reason contract is being cancelled (i.e., sele, gava back to H&R Block, cancalled by Franchisee,
cancelled for cause by Block, etc.)?

ae 2. Mas Contract holder on new contract ever had a previous contract with H&R Block?
—eees a. It “yas”, has pravious contract been cancelled? City «Region Number

 

 

3. !s contract holder a relative of any full-time employee of H&R Block? If “yes”, relattanship
District of Employment Position

ADOITIONAL INFORMATION (CHECK ONE AND COMPLETE APPLICABLE LINES)
, Major Franchise oo MF Franchise __ GO Franchise State. Branch Office ___. Branch Office of Admin. Dept. ID

Deposit Received § ;
Franchise Director Shon: : = Simms

 

 

 

" Date Contract Form No.
I Admin. Dept. ID

 

—

Parent District
“ft deposit check is for more than one franchise contract, please explain on fre below: TRANSFER DEPOSIT:

 

From: -
City Admin. Dept. tD Amount

Chy

 

Previous Tax Season: Returns Volume To:

 

Admin. Dept. {BD Amount .

Data eye
Date SEF S ,
Cancellation on previous contract holder received

New contract or transfer forms received for Effective transfer date

  

  

APPROVED BY
Regional Franchise Director
World Headquarters

 

World Headquarters USE ONLY

 

 

GENERAL INSTRUCTIONS
The prospective Franchisee signs four copias of the contract and the Franchise Director forwards the contracts, related paperwork, and the completed 23205 to the Regionat —
Franchise Olrector. The Regional Franchise Director reviews tha contracts, indicates approval by signing Form 2320S and forwards the original {o World Headquarters along with ne
contracts. Wond Headquartars will proces and return the signed contracts to the Regional Franchise Director for forwarding to ine Franchise Gwner and Franchise Director.

Word World Word
R.D. Hagrts Franchise Contract ALD. Hdqrts Rapid Refund/Automation A.D. Haqrts Branch Offica of Franchize
O © _ Deposit Chack O © Rapid Refund Info, Worksheet O © Deposit Check
© O _ Down Payment (if sale by Block) DO © Electronic Filing Agreemant © © Down Payment (if sale by Block)
O © Business insurance Card O © ACH Bank Info. D QO 8-8-4 Addendum
O © Parsonal Qualitications Summary 9 OC Change of Option G ©  Royatty Addendum
O G Form 2327 From To O QQ New TPS Agreement
0 © Receipt Page (it applicabie) QO © TPS Agrmement O OO Form 2327
oO: © _sLeétter of Resignation, Abandonmant, etc. Q Product Addendum O © Business Insurance Card
CO © Transter Forms O Mortgage Agreement O Franchise Approval Warksheat (é new branch)
9 OO S-8 Agreement GC Agri Plan Addendum O © Receipt Page (if applicable)
f! © Franchise Approval Worksheet (ifnew city) © Form 2104 (e-mail account) O OD Letter of Resignation. Avandonment, et.
3 OO - $-8-2 Agreement
O © FELC Clearance Letter
C OC Form 2600 (shipping address change) 2320S8-7-99

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Admin. [.D.: S995 O

FINANCIAL PRODUCTS LICENSE AGREEMENT

/ THIS AGREEMENT is made and entered mto this .. 4 day of Lec ;
on

between H&R Block Tax Services, Inc., a Missouri corporation (“Block”), and
ELLE UKE & 358 Mees LYCIL A el Sv

 

 

\ _, fName) ss (Number & Street or Box Number)
Coffierus | fe Sta S827 licensee”).
(City) (State) (Zip)
Recitals

Licensee and Block are parties to a agreement (the ‘Satellite Agreement”) under which Licensee
is permitted to use the name “H&R Block” and in other marks to perform tax preparation and other
related services from a location or locations within [Lec le / (the .
“Franchise Territory”). Ff 7

Block desires to arrange for the delivery of financial products originated from the Franchise
Territory and Licensee desires to operate a financial products business (the “Business”) under Block’s
marks at one or more of the office locations in the Franchise Territory at which Licensee operates a
business under the Satellite Agreement. oe

Agreement
In consideration of the foregoing and the agreements set forth below, Block and Licensee
(collectively, the “Parties”) agree as follows:. Be

Od Grant of License. Block grants to Licensee a license to use during the term of this
Agreement the name "H&R Block" in the manner specified by Block and such other names or services _
marks that Block may from time to time permit or require Licensee to use in the financial products busmess
(the “Licensed Marks”) to operate the Business from the location(s) in the Franchise Territory (the “Office .
Locations”) set forth in Schedule One, below. Licensee’s operation of the Busmess under this Agreement at
any additional locations is subject to Block’s prior written approval, which approval (which will be deemed
an amendment to Schedule One without further action by the Parties) shall not be unreasonably withheld.
Licensee may advertise or promote Licensee’s Office Locations only in media originating withm the
Franchise Terntory, but Licensee may conduct the services pexmitted under this Agreement at such
locations for any person of firm residing outside the Franchise Terntory.

2. Relationship With Broker Dealer. Licensee shall enter into an agreement with only such
broker dealer(s) as designated im writing by Block (the “Broker Dealer”) and comply with the terms and
conditions of any such agreement with the Broker Dealer (the “Broker Dealer Agreement”). For the
puxposes of this Agreement, the services and products that Licensee is authorized to offer under the Broker
Dealer Agreement are referred to as “Financial Products,” which include sales of securities, investment
advisory services and variable and fixed insurance products. The grant of license under this Agreement is
limited to ouly Financial Products and Licensee shall not permit the Business to engage in any activity at
the Office Locations other than offering Fmancial Products and such other products and services that
Licensee may be permitted or required to offer at such locations under other agreements with Block.

EXHIBIT

3 Financial Produas Lic, Agmt. (9/99)
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3, Exclusivity. Duwnng the term of this Agreement, Block will not operate on mts own or
through others a business offering Fmancial Products under the Licensed Marks, under the name and mark
“F&R Block” or under any similar name or mark at retail locations in the Franchise Territory. However,
during such term, Block, on its own or through others, may use such marks to offer Fimancial Products to
customers in the Franchise Terxttory through the Intemet, direct mail, outbound telemarketing or any other
media,

Twenty (20) days prior to the commencement of any such offer, Block shall provide Licensee
notice of any such direct mail or outbound telemarketing (collectively, “Solicitation”) offers, provided,
however, that Block is not required to notify Licensee of Internet offers (Intemet offers are not included in
the term “Solicitation”) which may be made by Block without obligation to Licensee. In the event of any
such Solicitation during the term of this Agreement, Block shall use its best efforts to provide Licensee with
the names and related information for all interested prospective customers resulting from such Solicitation

in the Franchise Territory to euable Licensee to contact such prospective customers for fitture business.

. Both during and after the term of this Agreement, without obligation to Franchisee, Block on its
own or through others may offer any Financial Products under marks other than the Licensed Marks or
“H&R Block” at retail locations or otherwise im the Franchise Ternitory. oo

4. _ Licensee’s Conduct of Business. Licensee shall use Licensee's best efforts in operating the’

Business and shall at Licensee’s expense manage and conduct such Business in accordance with the Broker

Dealer Agreement and rules specified as applicable to Licensee in Block’s Policy and Procedure Manual as

may be amended by Block from time to time (the “Manual”) and as applies to a Fimancial Products
business. Without limiting the generality of the foregoing, Licensee shall: me ,

" (a) - Maintain a neat and orderly office or: offices of professional appearance which .
meet the standards set forth as applicable to Licensee im the Manual (such standatds shall be no greater.
than the standards applicable to Financial Products offices operated by Block or its affiliates), including, '

jut limitation, ‘properly identified signs approved in advance by Block and adequate space "for
conducting the Busmess; . - Co,

: (b) " Upon termination of this Agreement for any reason other than due. to the default -
of Block, surrender to Block all Licensee’s Customers files and transfer to Block or a third party
designated by Block all Licensee’s Customers accounts, including any trailer fees associated with such |
accounts; and me . . . oe

© _ Require and.cause each person engaged in the Business as a sales representative
for any Financial Product to be licensed through a broker dealer designated by Block and require that ‘each
such person, or any person engaged in a supervisory capacity in the Business, execute an agreement, im the
form prescribed by Block, containing, among other things, such poa-competition ‘and non-solicitation
covenants as prescribed by Block, Licensee shall be licensed at the same or a higher level than such
Licensee (or the “Principal” desigoated under this Agreement if Licensee is a corporation,
partnership or other legal entity) shall directly oversee the day-to-day affairs of the Busisvess offered at the ©
Office Locations waless Licensee employs a general manager, approved in writing by Block.

5. Use of Licensed Marks. Licensee shal operate the Business under the Licensed Marks.
Licensee acknowledges that the use of any other name or matk in conducting the Business is prohibited,
that the Licensed Marks will be used only im connection with the Busmess and in the manner specified by
Block and that Licensee shall not permut the Licensed Marks, or any substantially similar style or spellug

 

2 Financial Products Lic. Aga. (9/99)

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thereof (including, but not lumited to, the name and mark “HER Block” and the word “Block”), to be used
for any other purpose, including, but not limuted to, the formation of corporations, partnerships or any other
form of business organization, without the prior written permissioa of Block.

Block must approve in writing Licensee’s use of the Licensed Marks in any advertismg or
marketing prior to suck use. In the event Block modifies or replaces any Licensed Mark, Licensee must
modify ox replace any signs or materials to reflect the new Licensed Mark.

All uses of the Licensed Marks shail inure to the benefit of Block, and Licensee shall not at any
time acquire any rights in the Licensed Marks by vutue of any use thereof, Upon termination of this
Agreement, Licensee shall immediately cease using the Licensed Marks.

Licensee agrees that the nature and quality of the Business offered by Licensee under the Licensed
Marks and all related advertising, promotion and other uses of the Licensed Marks shall confonn to .
standards set by Block. Licensee shall permit reasonable imspection of Licensee’s operation, notify Block of
any regulatory complaints with the Business, and. if requested, supply Block with specimens of all uses of
the Licensed Marks prior to the distribution of any items utilizing the Licensed Marks.

6. Term. The term of this Agreement begins on the latter of the date hereof or the date
Licensee enters into the Broker Dealer Agreement and shalk run concurrently with the term of the Broker
Dealer Agreement, unless terminated sooner as provided herein. ne

7. Indemnification. Licensee shall be responsible for all loss or damage atising out of or.
relating to the operation of the Business under this Agreement. Licensee shall indemnify, defend and hold
harmless Block and each of its respective affiliates and their respective officers, directors, employees and
agents from and against any and all Joss, damage, liability, expense (including reasonable attorneys” fees)
and costs of any kind of nature, not occasioned by the fault or neglect of Block, arising out of or in
connection with Licensee’s operation of the Business under this Agreement or the breach of this Agreement:
by Licensee, Block shall indemnify, defend and hold harmless Licensee from and against any and all Joss,
damage, liability, expense (including reasonable attoreys’ fees) and costs of any kand or nature ansing out -
of or im connection with the breach of this Agreement by Block or a logs which occurs by reason of the - .
fault or neglect of Block. The provisions of this Section 7 shall survive termination of this Agreement..

8. Books and Records: Inspections. Licensee shall maintain for a period of at least three (3)
years after their creation (or such longer period as may be required by law) full, complete and accurate
books and records pertaining to the Business, including, but not limited to, copies of all customer files and
receipts, and any and all other reports, documents and records required to be filed with any governmental
authority or maintained pursuant to any federal, staté or local law or regulatory body. Block or tts |
representatives shall have the right from 9 a.m. to 5 p.m., Monday through Friday, throughout the year, to
imspect any Office Location: for the purpose of (i) examming the books and records required to be
maintained hereunder; (u) observing the manner and method of Licensee’s operation; and (ii) atherwise
assuring itself that Licerisee ts in compliance with the provisions of this Agreement. Block shall give
Licensee at least 48 hours’ notice of such inspection. Unless pemmitted to do so by Licensee, Block shal}
not disclose to a third party or to apy affiliate of Block that offers Financial Products any customet

information obtained from Licensee.
9. Limitations on Competition and Disclosure. Licensee agrees that:
(a) During the term of this Agreement Licensee will not directly or indirectly (whether

as owner, stockholder, partner, officer, director or employee) compete with Block in the business of selling

3 . Fitancial Products Lic. Aga. (7/99)

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Financial Products in or within 45 miles of the Franchise Territory, in the territory granted to any other
Block licensee, or within 45 miles of any Financial Products office operated by Block;

(b) For a period of two (2) years after the transfer, expiration or termination of this
Agreement for any reason (such period to be extended by any period(s) of violation), Licensee shall not
directly or indirectly (whether as stockholder, partner, officer, director or employee) (i) solicit by mail,
phone or in person, or divert from Block or Block licensées any person to whom Financial Products were
offered at any time during the term of this Agreement pursuant to the Busmess, of (ii) compete with Block
or Block licensees in the business of selling Financial Products in or within 45 miles of the Franchise
Territory; :

(©) | Ifthe scope of any restriction contained in this Section 9 is too broad to permit
enforcement of such restriction to its full extent, such restriction shall be enforced to the maxunum extent
permitted by law, and such scope may be judicially modified accordingly m any proceeding brought to
enforce such restriction; and _ ; .

-(d) If Licensee violates the provisions of this Section 9, such violation would cause
irreparable mjury to Block, Block’s remedy at law for such Violation would be inadequate, and termporary
and permanent injunctive relief may be granted in any proceeding which may be brought to enforce any

' provision hereof, without the necessity of proof of actual damage: , ae oO

10. “Termination. Either Party upon written notice to the other Party may terminate this. .
Agreement upon the material failure of a Party to perform that Party’s obligation under this Agreement and - -
such failure is not cured withm thirty (30) days after receiving notice of such failure from the non-
breaching Party. This Agreement shall terminate upon termination of the Broker Dealer Agreement by
either Party...-Block may terminate this Agreement immediately (without opportunity to cure) upon:
termination for any reason: of the Satellite Agreement or transfer of such Satellite Agreement unless this
‘Agreement is also transferred to the transferee of such Satellite Agreement as permitted by Section. 13¢d)

11. | Notices. All notices required or allowed by this Agreement shall be delivered in person, by
third party courier (including overnight courier services such as Federal Express) or by certified mail, ©
retum receipt requested, postage prepaid, addressed to the Party or person to whom notice is to be given, at

the following addresses:
To Block:  H&R Block Tax Services, Inc.
4400 Main Street .
- World Headquarters
Kansas City, Missoun 64111

Attn: Vice President, Franchise Operations

To Licensee: To the name and address shown im the first
paragraph of this Agreement. If Licensee is a
corporation or partnership, such notice shall be
sent to the attention of the “Principal.”

Any notice will be deemed given upon its receipt by the party to whom if is addressed.

12. Cosporation_or_ Pastnership_as Licensee. Block may i its sole discretion permit a
corporation, partnership or other legal entity to execute this Agreement as Licensee. The individual named
below as the Principal of such Licensee, to mduce Block’s execution of this Agreement, hereby personally

4 Financial Products Lic. Agnt. (9/99)

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assumes and agrees to be bound by and to faithfully perform all of the terms, covenants, conditions and
obligations incumbent upon Licensee under this Agreement.

13, . Miscellaneous.

(a) Amendments. No amendment, to this Agreement is effective without the prior
written agreement of both Parties. -

(b) Applicable Law. This Agreement is to be governed by, construed under, and
enforced and interpreted in accordance with the laws of the State of Missouri.

(c) Entire Agreement. This Agreement constitutes the entire agreement between the
Parties with respect to the subject matter hereof and replaces any previous financial products .busmess
apreement between Licensee and Block or aby affiliate of Block. No waiver of any provision hereof will be
valid or binding on the Parties hereto, unless such waiver is in writing and signed by or on behalf of the

‘Parties hereto, and no waiver on one occasion shall be deemed to be a waiver of the same or any other

provision hereof in the future.

~ (dd Successors _and Assigns: Assignability. The provisions of this Agreement shall
inure to the benefit of and be binding upon the successors, legal representatives and assigns of the Parties
hereto. Notwithstanding the foregomg, Licensee is prohibited from assigning or subfranchising Licensee’s
obligations. hereunder without the prior writtea consent of Block, provided, however, if the Satellite .
Agreement is assigned to an approved assignee, this Agreement also may be assigned to that assignee
unless regulatory or other legal requirements prevent that assignee from obtaining any licenses required.
hereunder. This Agreement shall terminate in the event of the death or incapacity of Licensee if Licensee is
an individual. 7 oo

(e) Severability. If a court, ‘governmental agency or other entity of competent
jurisdiction declares any provision or part of this Agreement void, the remaining provisions or parts of this
Agreement shall remaim in full force and effect.

() Parties Not Joint Venturers. ‘The Parties are not and shall not be construed as
joit venturers, partners, agents or etaployees of each other, and neither Party sball have any power to. bind
or obligate the other, and neither Party shall be liable to any person whomsoever for any debts incurred by
the other. oO , ;

(g) Limitation in the Event of Litigation. The Parties hereby waive trial by jury m any
action, proceeding or counterclaim, whether at law or in equity, im any matter arisimg out of or nm any Way
connected with this Agreement. All hetigated disputes shall be tried to the court sitting without 2 jury.
Further, the Parties waive, to the fullest extent permitted by law, any right to, or claim for, punitive
damages against the other m any litigated or arbitrated dispute, In the event of any dispute, each Party shall
be limited to the recovery of actual damages.

(h) Time of the Essence. As to all reports and fees payable to or to be made to Block,
time shall be of the essence.

(i) Section Headings. Section and subsection headings herein are used for
convenience of reference only ‘aud shall not affect in any way the meanmg or imterpretation of this

Agreetnentt.

5 Financial Products Lie, Agam. (9/99)

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Gg) Block’s Performance by Its Affiliates. Any services to be performed by Block
under this Agreement may be performed by any affiliate of Block.

IN WITNESS WHEREOF, the Parties hereto have executed this Agreement effective as of the day

  

 

 

 

 

 

 

 

 

and year first above written.
H&R Block Tax Segvices, Inc. Licensee (if an imdividual).
: Kenneth E. Treat, Jr. | | Signatuey/” |

Vice President oO, .
Licensee GE. a corporation. partnership - Principal

legal entity)
By: | : _
" Signature. Bo a . Signature ~
_ Printed Name | ; Printed Name
Tie - a Title
'~ §CHEDULE ONE
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INDEPENDENT CONTRACTOR AGREEMENT
(Franchise Owners and Sub-Reps)

IS AGREEMENT (“Agreement”) is made and entered into this Zax day of
, 19995 by and between Birchtree Financial Services, Inc. (“BTFS”), an Oklahoma

corporation with it s principal business located at 920 Main Street, Suite 216, Kansas City,
Missouri 64105 and (“Representative”) with a mailing
address of «S59 Mee (BYHALIA FR .

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« < a WITNESSETH:

WHEREAS, &TFS is a member of the National Association of Securities Dealers, Inc.
(the “NASD”) and duly licensed in several states of the United States to sell and generally deal
in certain types of securities; and

WHEREAS, the Representative desires to become an independent contractor of
BTFS; and

WHEREAS, BTFS desires to engage the Representative as an independent contractor
of BTFS on the terms and conditions set forth herein;

NOW THEREFORE, in consideration of the foregoing and the mutual covenants
contained herein, and for such other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the parties hereto hereby agree as follows:

1. Engagement of Representative. Subject to the terms and conditions hereof, BTFS
hereby authorizes and engages Representative to offer and solicit the sales of
securities, investment advisory Services, and variable and fixed insurance products
(the “Products) as an independent contractor through BTFS, and Representative
hereby accepts such engagement.

2. Conditions to Engagement. BIFS’s engagement of the Representative is conditioned
upon the following:

a) Representative not acting for the benefit of BTFS in any other business capacity
other than in the general securities, investment advisor and insurance business;

b) Representative being registered as appropriate with the NASD as a registered
representative or principal, and licensed or registered with any state in which
Representative solicits the purchase or sale of Products; and

c) Representative not maintaining a dual registration with any other broker/dealer or
investment advisor.

3. Relationship Between the Parties. Representative and BTFS agree that
Representative is an independent contractor and not an employee of BTFS and shall
not be considered to have “employee” status with respect to BTFS for any purpose.
Representative agrees that he shall be responsible for (a) establishing his-own place
of business; (b) leasing or owning all required equipment; and (c) all costs and
expenses associated with conducting Representative’s business. Representative shall
not hold himself out to the public, whether orally or in writing, as an employee of BTFS
inchuding, without limitation, making a statement to such effect on stationery or
business cards or in correspondence or otherwise. Representative recognizes and

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agrees that Representative is liable for the payment of all contributions, taxes and
other payments or charges required to be paid by an employer with respect to.
compensation paid and to be paid to Representative’s employees under all applicable
laws, rules and regulations.

Tenn of Engagement. The term of Representative’s engagement shall begin on the
date hereof and shall continue until terminated by either party’as provided for herein.
This Agreement may be terminated by either party at any time, effective upon 30 days
notice to the other party, for any reason whatsoever, with or without.cause; provided,
however, that BTFS may terminate this Agreement immediately in the event ,
representative violates the terms hereof.

Compensation. Representative’s sole compensation under this Agreement shall be a
commission equal to the broker/dealer commissions, concessions or fees received by
BTFS associated with amounts invested by any clients of Representative, less certain
amounts retained by BTFS, all as determined in accordance with Schedule A attached
hereto, as the same may be amended from time to time at the sole discretion of BIFS.
Commissions shall be payable by BTFS to Representative in accordance with BTFS's
practices, which may change from time to time in the sole discretion of BTFS, and
commissions shail not be considered earned by Representative until received by
BTFS. Except as otherwise set forth herein, no commissions shall be eared before or
after the term of this Agreement. Any commissions due to the Representative will be
automatically forfeited by Representative unless all documents and paperwork
required by BTFS are received in a manner acceptable to BTFS within 30 days after
execution of the transaction. Any commissions generated by the Representatives as a
result of a sale in any state that Representative or BTFS is not registered will be
automatically forfeited by Representative.

Covenants of Representative. Representative hereby covenants and agrees as
follows:

a) not to conduct any business activities contemplated hereunder unless
Representative is in all respects fully licensed as required by law to conduct
such activities;

b) to pay all expenses incurred in connection with Representative’s business,
including but not limited to public liability and errors and omissions insurance,
to be conducted in accordance with the provisions hereof;

c) to strictly comply with all applicable statutes, rules and regulations of the SEC,
NYSE, NASD, all applicable departments of insurance, the various states in
which BTES offers, purchases or sells Products and any other applicable
jurisdiction or self-regulatory organization in or through which BTFS or
Representative is registered, licensed or governed;

d) to comply with and abide by all of the policies and rules included in the policy
and procedures manuals of BTFS, as the same may be amended from time to
time;

e) to execute, deliver and comply with requests for any and all documents
reasonably requested by BTFS in connection with Representative’s
engagement hereunder, including, without limitation, confidentiality
agreements, compliance with BTFS procedures and requests for information,

f) to maintain and operate an office open for a minimum of 30 hours a week ona
year-round basis;

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g) to obtain consents as may be required by 26 U.S.C. Section 7216 and
Treasury Regulation Section 301.7216-3(b) with respect to the use and
disclosure of tax return information of the Representative’s tax return

customers,

h) to obtain written approval of BTFS for all letterhead, signs, business cards or
other indicia of business prior to using the same;

i) to not maintain a dual registration with any other broker/dealer or investment
advisor without the prior written approval of BTFS;

j) to inform BTFS immediately in writing in the event that Representative or BTFS

becomes the subject of any formal or informal inquiry, investigation or order by
any state, federal, self-regulatory body, arbitration panel or court, or if
Representative is put on notice of any complaint, dispute, violation or other
legal action, whether oral or in writing, conceming Representative, BTFS or any
other person doing or potentially doing business with Representative or BTFS;
and

k) upon BTFS’s request, to provide BTFS with information regarding any subject
which relates to Representative’s or any other person’s compliance with
applicable securities laws, BTFS policies and procedures or any provision of
this Agreement and to provide BTFS with all records in Representative's
possession with respect thereto.

7. Training and Other Assistance. From time to time, BTFS or its designee may provide
Representative and its employees with such training as BTFS, in its sole discretion,
deems reasonably necessary to conduct the business contemplated hereunder.
Representative shall be responsible for the cost of attending such training, including
without limitation, cost of travel, room and board, BTFS or its designee may also
furnish all promotion, advertising and marketing materials deemed advisable by it-in its
sole discretion.

8. Computer Equipment and Software. BTFS or its designee will make available to each
franchise owner at no charge one computer software unit (and any enhancements or
revisions thereto) specifically designed for the business contemplated hereunder and
which BTFS deems reasonably necessary, and Representative agrees to use the
software in such business in the manner specified by BTFS. Such software shall
remain the property of BTFS or its designee and shall be used only in accordance with
the specific terms of the license agreement entered into by BTFS or its designee.
Representative agrees to execute any license agreement for the software as
requested by BTFS or its designee. The parties agree that BTES, in its sole discretion,
may designate other computer equipment and/or software for use in the business
contemplated hereunder from time to time, and that the Representative will be
responsible for the costs associated therewith.

9. Trade Secrets. Representative acknowledges that, by reason of its relationship with
BTES, Representative may acquire knowledge of and/or be entrusted with unique
information not generally available to the public pertaining to the business methods,
processes and procedures of BTFS, its parents and affiliates, which constitute
confidential information. This confidential information includes, without limitation,
plans, strategies, financial results, financial plans, lists, computer disks, computer
software programs, computerized or Intemet-based data, files and documents (“Trade
Secrets”), the confidential nature of which Representative hereby acknowledges. In
consideration of BTFS, its parents or affiliates providing such information,

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Representative agrees to keep and maintain the confidentiality of any an all Trade
Secrets as the property of BTFS, its parents or affiliates. Representative shall not,
during or after the termination of this agreement, (i) directly or indirectly possess,
retain, remove or use or permit others to access, possess, retain, remove or use any
Trade Secrets, whether for the purpose of competing directly or indirectly with BTFS,
its parents, affiliates or otherwise; (ii) make copies of, reproduce or remove any Trade
Secrets or confidential business information (in any form or format) of BTFS, its
parents, affiliates or clients; (iii) directly or indirectly make known, divulge or
communicate to any person or entity any such Trade Secrets or confidential business
information; or (iv) use such confidential business information for any reason other
than to enable Representative to property and completely perform duties hereunder
except as required for the benefit of BTFS. This covenant of confidentiality of Trade
Secrets shall survive the termination of this Agreement.

10. Requilatory Compliance. Representative acknowledges that if any dispute arises
between BTFS and Representative as to whether Representative is in compliance with
any applicable statutes, rules or regulations or the SEC, NYSE, NASD, all applicable
departments of insurance and any other jurisdiction or self-regulatory organization in or
through which BTFS or Representative is registered, licensed or governed, the
decision of BTFS with respect thereto shall be determinative. tn the event that BTFS
determines, in its sole discretion, that Representative has violated or failed to comply
with any of the aforementioned statutes, rules or regulations of the Written Supervisory
Procedures of BTFS, BTFS may take such actions as it deems appropriate to .
discipline Representative, including levying monetary fines against Representative.

11. Indemnification. The Representative, and each of its owners jointly and severally, if
owned by more than one party, shall indemnify and hoid harmless BTFS, its officers,
directors, shareholders, parent corporations, affiliates, employees, agents and
representatives from and against any and all liabilities and obligations of, or claims,
complaints, investigations or examinations of any kind initiated or asserted against,
BTEFS, its officers, directors, shareholders, parent corporations, affiliates, employees,
agents and representatives, arising from or related to the Representative’s business,
including but not limited to any and all types of transactions in securities; and from any
unpaid debit balance by a customer of the Representative to the extent that such
becomes unsecured, and unpaid by the customer when due by BTFS and/or its
clearing firm; and from any and all actions, suits, proceedings, demands,
assessments, settlements, judgments, costs and expenses, including attorneys’ fees,
incident to the foregoing. In order to secure the Representative’s indemnity obligations
identified in this paragraph, BTFS shall have the right to offset any such prospective
or potential debits, liabilities or obligations against any personal or affiliated accounts’
of the Representative or against any commissions or compensation as consistent
herewith. Upon the Representative's termination with BTFS, voluntary or otherise,
BTFS shail have the right to withhold any commissions or compensation due to the
Representative until such time as all liabilities and obligations of the Representative
hereunder are resolved.

12, Right to Examine Books and Records. BTFS shail have the right from time to time to
examine Representative’s books, records, documents, computer files and any other
files and may request copies of any or all such matenals as are necessary to
determine compliance with policies and procedures of BTFS or any regulatory agency
or organizations.

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Right to Enter Premises. Representative hereby grants to BTFS, its officers, directors,
employees and agents, an irrevocable license to enter, including the continuing right
and authority to enter, with or without notice, at any time during customary business
hours (defined as 8 a.m. to 5:30 p.m. local time) and from time to time, any premises in
which Representative conducts any business contemplated hereunder or maintains
any information or records pertaining to any business contemplated hereunder and to
take custody of any information or records relating to any business of Representative
contemplated hereunder including any electronically stored records, databases
computer disks, files and hard drives.

Entre Agreement. This Agreement contained the entire understanding between the
parties hereto with respect to the subject matter hereof, and supercedes any prior
agreements or understandings between them. This Agreement may not be modified
except by a written agreement signed by all parties hereto.

Waiver of Breach. No delay or omission on the part of BTFS in exercising any right or
remedy hereunder shail operate as a waiver of such right or remedy. The waiver by
any party of a breach of any provision of this Agreement shall not operate or be
construed as a waiver of any Subsequent breach by said party.

Assignment. The rights and obligations of all parties hereunder shall inure to the
benefit of and be binding upon each party's successors, heirs, personal or legal
representatives and permitted assigns. Representative may not assign, pledge or

- encumber in any way all or any part of his interest under this Agreement without the

prior written consent of BTFS. BTFS and its affiliates may assign their right under this
Agreement to any H&R Block, Inc. direct or indirect subsidiary, or to any entity which
may acquire all or substantially all or substantially all of the assets and business of
BTFS or its affiliates.

Séverability. The invalidity or unenforceability of any provision of this Agreement shall
in no way affect the validity or enforceability of any other provision.

Governing Law. This Agreement shail be governed in all respect by the laws of the
State of Missouri.

Notices. All notices required or permitted hereunder shall be in writing and shall be
deemed to have been given and received three days after being mailed to the last
known business address of the parties.

Attorneys’ Fees. !n the event either party deems it necessary to initiate legal action
against the other to enforce any provision of this Agreement, the prevailing party may
recover its costs incurred in initiating, defending and/or enforcing any provisions
hereof, including, without limitation, reasonable attorneys’ fees, investigative feeds,
arbitration and court costs.

Consent to Credit Review. Representative authorizes BTFS to request and receive a
credit background check on Representative through TRW or a similar service.

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IN WITNESS WHEREOF, the parties have execu hi
first above written, p ted this Agreement as of the date

BIRCHTREE FINANCIAL SERVICES, INC.

 

REPRESENTATIVE

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SCHEDULE A
(Franchise Owner / General Manager)

 

Payout Schedule .
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0 —5,000 50%
5,001 — 15,000 , 55%

45,001 — 25,000 60% .
25,001 — 45,000 | 65%
45,001—75,000 70%
75,001 —- 100,000 - 75%
400,001 — 140,000 80%
440,001 — 190,000 82%
"190,001 -240,000 . 84%
240,001 and above | 86%

 

 

 

Note:

=» For the purposes of determining the payout percentage for any particular month, the
aggregate gross commission production for the twelve months previous to the month
in question is applied to the payout schedule above.

« The payout schedule applies to commissions derived from sales of all products.
The parties understand that the payout schedule may be amended from time to time at
the sole discretion of BTFS.

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Photo: D. B. Kay

:s with vocal! artists Robert

the Harrell Theatre’s upcom-

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theatrical pop concert with

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fry musical -

weh 2. The shows are Friday
1 Saturday evenings at 8 p.g
J Sundayb afternoons at 24
a. Tickets are $10 for adu
1 $8 for children, students, ahd
uor citizens. For group rategg

more information, call #
rrell Theatre box office at

28. }

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James Cletis Taylor, 79, of

yley, Miss., died on Jan. 26 at
:residence. Mr. Taylor was a
ired school bus driver and
mer, an active member of
umanuel Holiness Church,
-ved in the Navy and was a
‘eran of World War IT. He is
rvived by his daughter,
irley Hodum of Collierville;
son, J. Eugene Taylor of
dley; two sisters: Inez Box of
1e Mountain, Miss., and Jan
lebschman of Ripley; a
xther, Gerald Taylor of
dley; two grandchildren:
arles Taylor Hodum of
ilierville and Pam Hakim of
ford; and three great prand-
Idren.

 

 

 

 

 

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The good news is that pri- Those without computer
vate scholarship and grant access can send $2.00 to cover
money has been increasing. handling to NAFA, 188
Currently there are more than Summer St., Dept. 13,
600, 000 independent and Pre Portsmouth, N. H. 03801.

sgt Faris Bela ~

TE

MURPHY TAX SERVICES
Electronic filing

“Onsite Tax Services for Individuals and Business”

358 New Byhalia Road Suite 2
Collierville, Tennessee 38107
853-8900 (Fax - 493-5212)

 

 

Mary Ellen Murphy, EA: Phillip A. Murphy

33 years experience www.ExecutiveTaxServices.com

maryellenmurphy @aol.com PhitipAMurphy@ao!l.com

 

 

 

 

 

 

 

 

 

“SNe: Available in over 500 sivles including initials,
- colored stones and many enameled charm links. .
Totally customizable to reflect your sense of style. _.-4--

ede
Now available at:

The Shop Fine Jewelry and Repair
747 W. Poplar, Suite 105
(In Collierville - located behind Bike World)

 

 

 

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EXHIBIT

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MURPHY INCOME TAX SERVICE

PHIL MURPHY MARY MURPHY

358 New Byhalia Rd., Ste. 2

Collierville, TN 38017 901-853-8900

 

 

YEAR-ROUND TAX SERVICE

for assistance with Estimates, Audits and Tax Questions.

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ETS Executive Tax Services

 

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"Onsite tax services for individuals and business” EXH IBIT 8
Phillip A. Murphy
358 New Byhalia Rd Suite 2 E ” 2d
oo Collierville, TN

(901) 493-5212
(901) 853-8900 fax

   
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Dear Friend:

Thank you for having us prepare your
income tax return.

{t was a pleasure to serve you and we are
honored that you trusted us with this
important task. Your return was carefully
prepared by a professional preparer and
you can be assured that all information
from your return will remain confidential.

  
   
   

We have worked hard over the years to
merit trust and confidence, and spend
many hours between April 15th and
December 31st keeping abreast of all tax
changes that could be beneficial to your
future income tax returns.

If you are satisfied with our service,
please recommend us to a friend.

ww

   
   
    
   

We look forward to serving you again
next year. In the meantime, if you should
have any questions regarding your

income tax return, please call.

Very truly yours,
YOUR TAX PREPARER

 

PS. We recommend keeping a
copy of all tax returns permanently.

It is important that you keep all
supporting receipts and documents ~— /

used in preparing this years return
for at least four (4) years from its due
date April 15. Should your return be
selected for audit, these receipts and
records could be required by the
Internal Revenue Service or your state.
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83714783 19:43:12
Batch #: 120
VISA
ge) 04
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Total: $ {73.80

Customer Copy
THANK YOU!
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EXECUTIVE TAX SERVICES ~

358 NEW BYHALIA RD STE 2A

COLLIERVILLE, TN 38017-0000 (901) 853-8900

 

March 14, 2003 Tax Year 2002

Dear JAMES D WRIGHT

Attached are copies of your completed federal and/or state
income tax return. You should retain copies of each return as
part of your permanent records. Please review your entire return
and call us at (901) 853-8900 if you have any questions.

Remember to also check the spelling of your name(s), your
address and your social security number(s). The information as
it appears on your tax return is as follows:

* JAMES D WRIGHT

*
k — Snlheundn prducke of
KILLEN, AL 35645) wr Bo!
ae
Your federal refund is Please sign your return and mail

it to the following address:

Internal Revenue Service Center
MEMPHIS, TN 37501-0002

Your ALABAMA return shows a balance due of $1163. Please sign
your return and mail it to the following address:

Alabama Income Tax Division
P.O. Box 2401
Montgomery, AL 36140-0001

Your return was prepared this year by PHILLIP A MURPHY UR. We
sincerely hope you have been satisfied with our service and will
recommend us to a friend. We look forward to seeing you again in
2004.

As your tax preparer, we collect information provided by you
when preparing your taxes. This information can come from your
tax organizer, worksheets, documents and discussions. We are
required to keep this information confidential and to not
disclose it to third parties unless we have your approval or are
required/permitted to disclose it by law. We are committed to
the safe-keeping of your confidential information, and we
maintain physical, electronic and procedural safeguards to
protect your information.

Sincerely,
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t .

Form 1 040

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Department of the Treasury - Internal Revenue Service

U.S. Individual Income Tax Return 2002 | ws)

For the year Jan. 1-Dec. 31, 2002, or other tax year beginning

wi

IRS Use Only—-Do not write or staple in this space.

,2002, ending , 20

] OMB No. 1545-0074

 

 

 

 

 

 

 

 

Label Your first name and initial Last name Your social security number

A JAMES D WRIGHT _ REOR CTED

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Use thers | © f 4€V Kou no
label. H ac Pt. no. A IMPORTANT! ~
Otherwise, EL a q ) You must enter
please prin
or type. E your SSN(s) above.
Presidential —<
Election Campaign Note: Checking ‘‘Yes’’ will not change your tax or reduce your refund. You Spouse

Do you, or your spouse if filling a joint return, want $3 to go to this fund? .. 2... 2... > []Yes [LINo [Yes [No

 

Filing Status

Check only
one box.

Single
Married filing jointly (even if only one had income)

1
2
3

OO

>

Married filing separately. Enter spouse’s SSN above and

but not your dependent, enter the chiild’s name here.

4 O Head of household (with qualifying person). if the qualifying person is a child

 

full name here.

5 [1 Qualifying widow(er) with dependent child (year spouse died > ).

 

Exemptions

If more than five
dependents,
see instructions.

6a &)
return, do not check box 6a

b

Spouse

Yourself. If your parent (or someone else) can claim you as a dependent on his or her tax

No. of boxes

 

c Dependents:
{1) First name

(2) Dependent’s

Last name social security number

(3) Dependent’s
relationship to you

(4) X if qualifying
child for child tax

checked on 1
6a and 6b

No. of your

children on 6c
who:

@ lived with you 0

@ did not live with

 

you due to divorce

or separation

 

 

 

 

 

 

 

Add numbers 1
on lines

 

d Total number of exemptions claimed

above

 

7 Wages, salaries, tips, etc. Attach Form(s) W-2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
  
  
  
  
  
  
 

 

 

 

 

(see page 20) 0

Dependents on 6c
not entered above 0

 

 

 

 

 

Income 8a Taxable interest. Attach Schedule B if required
Attach b Tax-exempt interest. Do not include on line 8a
Forms W-2 and 9 Ordinary dividends. Attach Schedule B if required... 2... 27 ee ee eee 9
wee ere. 10 Taxable refunds, credits, or offsets of state and local income taxes -.. 2... 2... ee ee eee 10
Form(s) 1099-R 11 Alimony received... 2... ee ee 1
if tax was 12 Business income or (loss). Attach Schedule C or C-EZ 2. 2... ee ee ee 12
withheld. 13 Capital gain or (loss). Attach Schedule D if required. If not required, check here > O 13 aN
; 14 Other gains or (losses). Attach Form 4797, 14 \
If you did not
get a W-2, _ 15a IRA distributions. ...... 15a ced | b Taxable amount) = | gg ddd, 15b NK
see instructions. 16a Pensions and annuities 16a Peds _J| b Taxable amount. =. 6 ddd, 16b G
Enclose, but do 17 Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule EE... 1... 17
not staple, any 18 Farm income or (loss). Attach Schedule F. . 2 0. ee ee et es 18 AN
payment. Also, .
please use 19 Unemployment compensation _. ded Ce eb ebb be bene 19 \
Form 1040-V. 20a Social security benefits . . 20a acket “| b Taxable amount.......-.....- 20b \
21 Other income. List type and amount y
22 Add the amounts in the far right column for lines 7 through 21. This is your total income \
23 Educator expenses .. 2. ee ee es 23
24 IRA deduction. 2... 6. ee ee 24
25 Student loan interest deduction... 2... ee ee ee 25
Adjusted 26 Tuition and fees deduction ©... 6. es 26
Gross 27 Archer MSA deduction. Attach Form 8853... 2... ee es 27
Income 28 Moving expenses. Attach Form 3903. .........-...0020000- 28
29 One-half of self-employment tax. Attach Schedule SE ............ 29
30 Self-employed health insurance deduction. .. 2... 6 ee ee ee ee es 30
31 Self-employed SEP, SIMPLE, and qualified plans .. 2... 2... 22 ee ee
32 Penalty on early withdrawal of savings «2. 6.1 ee ee ee ee
33a Alimony paid b Recipient’s SSN»
34 Add lines 23 through 33a | ee
35 Subtract line 34 from line 22. This is your adjusted gross income a
JTA For Disclosure, Privacy Act and Paperwork Reduction Act Notice, see separate instructions. Form 1040 (2002)
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Tax and * 36 Amount from line 35 (ca gross income)... ......-.0.004 An we ee
Credits 37a Check if: [J You were 65 or older, 1 Blind; []} Spouse was 65 or older, [1 Blind.
Standard Add the number of boxes checked above and enter the totalhere ...........
Deduction b If you are married filing separately and your spouse itemizes deductions or
for- you were a dual-status alien, check here... 0... 0 ee ee ee
People who - 38 Itemized deductions (from Schedule A) or your standard deduction (see left margin)
checked any
box on line 39 Subtract line 38 from line 36 2-1 ee ee ee
372 of 37D or 40 If line 36 is $103,000 or less, multiply $3,000 by the total number of exemptions claimed on
Sonondent a line 6d. if line 36 is over $103,000 see the worksheet in the instructions ..............
see instr. 41 Taxable income. Subtract line 40 from line 39. If line 40 is more than line 39, enter -O-........
® All others: 42 Tax. Check if any tax is from: al] Form(s) 8814 b (1) Form4972..............004
21 300 43 Alternative minimum tax. Attach Form 6251... 0.0.0.0... 0000 eee eee eee eee
Head of 44 Add lines 42 and 43... 0 2 ee
household: 45 Foreign tax credit. Attach Form 1116 if required... ........-2-04
oe filing 46 Credit for child and dependent care expenses. Attach Form 2441 ......
jointly or 47 Credit for the elderly or the disabled. Attach ScheduleR ..........
Qualifying 48 Education credits. Attach Form 8863 2... 2... . 0.2.2.2 220
reno 49 Retirement savings contributions credit. Attach Form 8880 .........
Married 50 Child tax credit... 2... ee ee
filing 51 Adoption credit. Attach Form 8839 .. 2... 0... .. 20. eae
separately: 52 Credits from: a (1) Form 8396 b [1] Form 8859
* 53 Other Credits. Check applicable box(es): a [1 Form 3800
b O Form 8801 c LJ Specify
54 Add lines 45 through 53. These are your total credits .. 2... 2. ee ee
55 Subtract line 54 from line 44. !f line 54 is more than line 44, enter -O- ... 2...
Other 56 Self-employment tax. Attach Schedule SE ee.
Taxes 57 Social security and Medicare tax on tip income not reported to employer. Attach Form 4137
58 Tax on qualified plans, including IRAs, and other tax-favored accounts. Attach Form 5329 ifrequired =
59 Advance earned income credit payments from Form(s} W-2 .. 2... 1. ee eee ee eee
60 Household employment taxes. Attach ScheduleH . 2... 0... ee ee ee ee ee es
61 Add tines 55 through 60. This is your total tax... . 1... eee ee ee
62 Federal income tax withheld from Forms W-2 and 1099 ........... 62
Payments 63 2002 estimated tax payments and amount applied from 2001 return 63
64 Earned income credit (EIC) . 2... 2. 2 ee ee ee ee 64
If you have
a qualifying 65 Excess social security and tier IRRTA tax withheld ............. 65
child, attach 66 Additional child tax credit. Attach Form 8812 . 1... ...20022050. 66
Schedule EIC. 67 Amount paid with request for extension to fille ...........2-.005 67
68 Other payments from: a Crom 2439 b C1 Form 4136 c LU Form gae5 68
69 Add lines 62 through 68. These are yourtotal payments, ......,..2..2.2......2.,
Refund 70 If line 69 is more than line 61, subtract line 61 from line 69. This is the amount you overpaid
Direct 71a Amount of fine 70 you want refunded to you. . 2. 2. ee ee
deposit! See >» b Routing number{ sd ¢ Type: LJ Checking 0) Savings
and qi bm d Account number | |
72 Amount of fine 70 you want applied to your 2003 estimated tax p | 72 |
Amount 73 Amount you owe. Subtract line 69 from fine 61. For details on how to pay, see instt . . . 2...
You Owe 74 Estimated tax penalty, . ow... ee ee ee ee ee | 74 |

 

Third Party

Do you want to allow another person to discuss this return with the IRS (see instr)?

ClYes. Complete the following.

ONo

 

 

 

 

 

 

 

 

 

 

| Designee’s Phone Personal identification
Designee name > no. fumber (PIN) >|
Sign Under penalties of perjury, | declare that | have examined this return and accompanying schedules and statements, and to the best of my knowledge and
H belief, they are true, correct, and complete. Dectaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
ere
Joint return? Your signature Date Your occupation Daytime phone number
See instructions. SONG WRITER
reep a copy Spouse's — if a joint return, both must sign. Date Spouse’s occupation
or your
records.
Paid Preparer's ww Date Preparer’s SSN or PTIN
al i Check if
signature eck i
Preparer’s . li 3/14/2003} settempioyes P00128635
EIN
Use Onl se D/ EXECUTI¥E TAX SERVICES XX-XXXXXXX
se Only yours if self-employed }, Phone no

JTA

address, and ZIP code

358 NEW BYHALIA RD STE 2A
COLLIERVILLE TN 38017-0000

 

(901) 853-8900

Form 71040 (2002)
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M Internal Revenue Service t,

DEPARTMENT OF THE TREASURY

Authorized IRY.@ file BrovidertmbRDocument 1 Filed 10/16/03 Page 80 of 83 Pageph 44 3

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Dally

e-File Provider Search

Authorized IRS e-file Providers

 

Name of Business:

Address:
City/State/Zip:
Point of Contact:
Telephone:

Type of Service:

Name of Business:

Address:
City/State/Zip:
Point of Contact:
Telephone:

Type of Service:

Name of Business:

Address:
City/State/Zip:
Point of Contact:
Telephone:

Type of Service:

Name of Business:

Address:
City/State/Zip:
Point of Contact:
Telephone:

Type of Service:

Name of Business:

Address:
City/State/Zip:
Point of Contact:
Telephone:

Type of Service:

Name of Business:

Address:
City/State/Zip:

DANNY YOUNG CPA

905 SUGAR COVE
COLLIERVILLE, TN 38017
DANNY YOUNG
(901)854-2575

Electronic Return Originator

 

DIRECT GENERAL CONSUMER PRODUCTS

555 S CENTER ST
COLLIERVILLE, TN 38017
SCOTT MCMASTER
(901)854-5858

Electronic Return Originator

DOVE SYSTEMS

128 SUMMIT COVE
COLLIERVILLE, TN 38017
DONALD 0 VICK
(901)262-0586

Electronic Return Originator

ENGELKEN & ENGELKEN
201 S CENTER ST STE 100
COLLIERVILLE, TN 38017
CHARLES T ENGELKEN
(901)853-8502

Electronic Return Originator

FINANCIAL BUSINESS SOLUTIONS
610 W POPLAR

COLLIERVILLE, TN 38017
MICHAEL C SISK

(901)373-8818

Electronic Return Originator

H & R BLOCK
358 N BYHALIA ROAD, SUITE 1

COLLIERVILLE, TN 38017

http://www.irs.gov/app/cgi-bin/findProviders.cgi

EXHIBIT

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Point of Contact:
7 Telephone:
Type of Service:

Name of Business:

Address:
City/State/Zip:
Point of Contact:
Telephone:

Type of Service:

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City/State/Zip:
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Type of Service:

Name of Business:

/ Address:

City/State/Zip:
Point of Contact:
Telephone:

Type of Service:

Address:
City/State/Zip:
Point of Contact:
Telephone:

Type of Service:

? Name of Business:

Name of Business:

J Address:

City/State/Zip:

MARY E MURPHY
(801}853-9076
Electronic Return Originator

 

INCOME TAX OFFICE GROUP
302 S CENTER ST
COLLIERVILLE, TN 38017
SADIE M PAYNE
(901)853-3732

Electronic Return Originator

 

J& WTAX SERVICE INC
567 W POPLAR AVE STE 1
COLLIERVILLE. TN 38017
JO ANN M WILDER
(901)854-5505

Electronic Return Originator

 

JACKSON HEWITT TAX SERVICES
3540 SUMMER STE 102

MEMPHIS, TN 38017

CATHY BASENESE

(973)496-2678

Electronic Return Originator

 

JAMES M LAVENDER CPA
340 NEW BYHALIA RD STE 4A
COLLIERVILLE, TN 38017
JAMES M LAVENDER
(901)854-1324

Electronic Return Originator

 

MARY ELLEN MURPHY
358 NEW BYHALIA RD
COLLIERVILLE, TN 38017
MARY E MURPHY
(901)853-9076

Electronic Return Originator

 

MURPHY TAX ASSOCIATES LLC
358 NEW BYHALIA ROAD
COLLIERVILLE, TN 38017

MARY E MURPHY
(801)853-9076

Electronic Return Originator

PHILLIP A MURPHY JR
358 NEW BYHALIA RD STE 2A

COLLUIERVILLE, TN 38017

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. wor w

Point of Contact: PHILLIP A MURPHY JR
Telephone: (901)493-5212
Type of Service: — Electronic Return Originator

 

Name of Business: SIDNEY R BEACH CPA
Address: 485 E SOUTH STREET #108
City/State/Zip: COLLIERVILLE, TN 38017
Point of Contact: SIDNEY R BEACH
Telephone: (901}854-1040

Type of Service: — Electronic Return Originator

 

Name of Business: TAYLOR & ASSOCIATES
Address: 9240 HOLMES RD
City/State/Zip: COLLIERVILLE, TN 38017
Point of Contact: ELVIRA TAYLOR
Telephone: (901)624-1292

Type of Service: — Electronic Return Originator

 

Name of Business: WATKINS TAX SERVICE
Address: 140 HWY 72
City/State/Zip: COLLIERVILLE, TN 38017
Point of Contact: CHESTER WATKINS
Telephone: (901}853-3732

Type of Service: — Electronic Return Originator

 

 

http://www.irs.gov/anp/cei-bin/findProvidere cai
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SIS 44 (Rev. 399)

The JS-44 civil cover sheet at
law, except as provided by |
the Clerk of Court for the purpos

I.

(b) County of Residence of First Listed Plaintiff

(a) PLAINTIFFS

H&R Block Eastern Tax Services, Inc.

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rules of court. This form, approved b
e of initiating the civil docket sheet.

Jackson, MO

(EXCEPT IN U.S. PLAINTIFF CASES)

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(SEE INSTRUCTIONS ON THE REVERSE OF 1

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DEFENDANTS

Phillip Murphy, Mary E. Murphy,
Phillip ar Phy Jrv., & Murphy Tax
cHRSPER EEF ict HG "Shelby. ON

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

NOTE:

 

(¢) Attorney's (Firm Name, Address, and Telephone Number)
Likens

Steven W.

Attorneys (If Known)
Kenneth A. Rutherford

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Husch & “ppenberger, LLC Rutherford Center, P.O. Box 1381
200 Jefferson Ave., Ste 1450 Oxford, MS 38655; (615) 513-3901
Hemp ha PN 38463-9064) 523=4423
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Plaintiff (U.S. Govern ment Not a Party) of Business h This State
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Defendant (Indicate Citizenship of Parties of Business ln Another State
in Item TH)
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IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
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Proceedin State Court Appellate Court another distric Litigation agistrate
& PP Reopened (specify) g Judgment

 

VI. CAUSE OF ACTION

Trademark Infringement,

VIE. REQUESTED IN

(Cite

Do not cite jurisdictional statutes unless d iversity.}

5 U.S.C. § 1125

L° CHECK IF THIS 1S A CLASS ACTION

DEMAND $

tne U.S Civil Sutute under which you are ling and write biel staement of cause,

CHECK YES anly if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER F.R.CP. 23 JURY DEMAND: Oves ONo

VI. RELATED CASE(S) (See tions) DOCKET
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IF ANY JUDGE NUMBER
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
